           Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 1 of 68



                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BUFFALO GROVE POLICE PENSION              )
FUND, Derivatively on Behalf of Nominal   )
Defendant NAVIENT CORPORATION,            )   C.A. No. _______________

                    Plaintiff,            )
                                          )
      v.                                  )
                                          )
WILLIAM M. DIEFENDERFER, III, JOHN
                                          )
K. ADAMS, ANNA ESCOBEDO CABRAL,
DIANE SUITT GILLELAND, KATHERINE          )
A. LEHMAN, LINDA A. MILLS, JOHN           )
(JACK) F. REMONDI, JANE J.                )
THOMPSON, LAURA S. UNGER, BARRY           )
L. WILLIAMS, ANN TORRE BATES,             )
STEVEN L. SHAPIRO, BARRY A.               )
MUNITZ, TIMOTHY J. HYNES, IV,
                                          )
SOMSAK CHIVAVIBAL, JOHN M. KANE,
and CHRISTIAN M. LOWN,                    )
                                          )
                    Defendants,           )
                                          )
      - and -
                                          )
NAVIENT CORPORATION,                      )
                                          )
                    Nominal Defendant.    )


                VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 2 of 68



                                                 TABLE OF CONTENTS

I.     INTRODUCTION AND SUMMARY OF CLAIMS ......................................................... 1

II.    JURISDICTION AND VENUE ......................................................................................... 5

III.   PARTIES ............................................................................................................................ 6

       A.         Plaintiff ................................................................................................................... 6

       B.         Nominal Defendant ................................................................................................. 7

       C.         Director Defendants ................................................................................................ 8

       D.         Former Director and Executive Defendants ......................................................... 10

IV.    THE INDIVIDUAL DEFENDANTS’ DUTIES AND OBLIGATIONS ......................... 11

       A.         Duties of All Individual Defendants ..................................................................... 11

       B.         Additional Duties of the Audit Committee Defendants ........................................ 14

       C.         Additional Duties of the Finance and Operations Committee
                  Defendants ............................................................................................................ 16

V.     SYSTEMATIC DEFICIENCIES CAUSE NAVIENT TO VIOLATE
       POSITIVE LAW FROM ITS INCEPTION ..................................................................... 18

       A.         The Federal Government’s Student Loan Programs ............................................. 18

       B.         Forbearance Is Intended for Short Term Financial Hardship and Is Not
                  Suitable as a Long Term Solution......................................................................... 19

       C.         Navient Systematically Favored Forbearance over IDRs, Even Where
                  an IDR Would Guarantee Payment to Navient by the Federal
                  Government........................................................................................................... 22

       D.         Navient Provided Borrowers with Inadequate Notice Regarding
                  Annual Renewals .................................................................................................. 25

       E.         Navient Failed to Provide Borrowers with Accurate Information
                  Relating to Cosigner Release Requirements ......................................................... 27

       F.         Pioneer Misinformed Borrowers Regarding the Effects of the Federal
                  Loan Rehabilitation Program and Failed to Implement Controls to
                  Correct Those Misrepresentations ........................................................................ 28




                                                                     i
             Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 3 of 68



        G.       Navient Repeatedly Committed Payment Processing Errors and Failed
                 to Implement Internal Controls to Prevent their Reoccurrence ............................ 30

        H.       Navient Misreported the Status of Military Accounts .......................................... 31

VI.     NAVIENT SYSTEMATICALLY MAINTAINED DECEPTIVE AND
        ABUSIVE PRACTICES IN KNOWING VIOLATION OF FEDERAL LAW ............... 32

        A.       Navient Failed to Comply with the Law ............................................................... 32

        B.       As a Result of Defendants’ Breach of Their Fiduciary Duties, the
                 Company Is Sued by the CFPB, ILAG, and WAAG............................................ 33

VII.    SECURITIES CLASS ACTION LAWSUITS ARE FILED AGAINST THE
        COMPANY, EXPOSING IT TO FURTHER HARM ..................................................... 36

        A.       Defendants’ Misconduct Has Exposed the Company to a Series of
                 Lawsuits that Injured Its Reputation and Financial Health ................................... 36

        B.       The Securities Litigation Alleges that Navient Misled Stockholders
                 Regarding Its: (i) Forbearance Practices, the Credit Quality of Its Loan
                 Portfolio, and Its Financial Results; (ii) Compliance with Legal and
                 Regulatory Requirements; and (iii) Liquidity and Financing
                 Arrangements ........................................................................................................ 37

                 1.      Navient’s Management Misled Stockholders Regarding Its
                         Forbearance Practices .................................................................................. 37

                 2.      Navient’s Management Misled Stockholders Regarding
                         Navient’s Compliance with State and Federal Laws and
                         Regulations .................................................................................................. 40

                 3.      Navient’s Management Misled Stockholders About Its Liquidity
                         and Financing Arrangements ....................................................................... 41

        C.       Additional Misleading Statements in Navient’s Proxy Statements ...................... 43

        D.       The Truth Begins to Emerge About Navient’s Forbearance Practices,
                 Its Non-Compliance with Legal and Regulatory Requirements, and Its
                 Liquidity and Financial Arrangements ................................................................. 45

VIII.   DAMAGES TO NAVIENT.............................................................................................. 49

IX.     DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS ...................................... 50

        A.       Demand on Defendant Remondi Is Futile Due to His Position as the
                 Company’s President and Chief Executive Officer .............................................. 52




                                                                 ii
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 4 of 68



       B.        Demand on Defendants Diefenderfer, Adams, Unger, Cabral,
                 Gilleland, Thompson, and Williams Is Futile Due to Their Positions on
                 the Audit Committee ............................................................................................. 53

       C.        Demand on Defendants Williams, Adams, Cabral, Lehman, Gilleland,
                 Mills, and Thompson Is Futile Due to Their Positions on the Finance
                 and Operations Committee ................................................................................... 54

X.     INSIDER TRADING ALLEGATIONS ........................................................................... 55

XI.    CAUSES OF ACTION ..................................................................................................... 57

       COUNT I Breach of Fiduciary Duty ................................................................................ 57

       COUNT II Violations of Section 10(b) of the Exchange Act ........................................... 57

       COUNT III Violation of Section 14(a) of the Exchange Act ........................................... 59

       COUNT IV Violation of Section 29(b) of the Exchange Act ........................................... 60

       COUNT V Breach of Fiduciary Duty for Insider Trading ............................................... 61

XII.   PRAYER FOR RELIEF ................................................................................................... 62




                                                               iii
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 5 of 68



       Plaintiff Buffalo Grove Police Pension Fund (“Plaintiff”), by and through its undersigned

counsel, hereby submits this Verified Stockholder Derivative Complaint (the “Complaint”) for

the benefit of Nominal Defendant Navient, Inc. (“Navient” or the “Company”) against certain

current and former members of Navient’s Board of Directors (the “Board”) and certain Navient

executives for breaching their fiduciary duties.

       Plaintiff makes these allegations upon personal knowledge, as to the facts of its

ownership of Navient stock, and upon the investigation of counsel, as to all other matters, which

included review and analysis of: (a) documents obtained pursuant to 8 Del. C. §220 (the “220

Documents”); (b) public filings made by Navient and other parties with the U.S. Securities and

Exchange Commission (“SEC”); (c) press releases and other publically disseminated

publications; (d) lawsuits filed by the Consumer Financial Protection Bureau (“CFPB”) and the

attorneys general of the State of Illinois (“ILAG”), State of Washington (“WAAG”), and

Commonwealth of Pennsylvania (“PAAG”) (collectively, the “State AGs”); and (e) related

federal securities class actions brought against the Company.

I.     INTRODUCTION AND SUMMARY OF CLAIMS

       1.       This stockholder derivative action arises out of the Board’s breach of their

fiduciary duties in failing to diligently and disinterestedly serve Navient.       Specifically, the

Individual Defendants (defined below) knowingly caused Navient to manipulate its student loan

servicing and collection practices to mislead borrowers, with regard to their rights, in violation of

federal and state law. Navient caused borrowers to incur millions in additional costs. As the

CFPB and multiple state attorneys general have alleged, Navient: (i) failed to advise borrowers

to enter into appropriate income-driven repayment programs (“IDRs”), instead steering them to

enter into costly forbearance, when not appropriate, in order to save on costs and create

additional future interest; (ii) failed to provide adequate notice to borrowers for submission of the

                                                   1
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 6 of 68



required annual paperwork to keep lower, income-based payments and/or to allow cosigners to

be released from loan obligations; (iii) misinformed borrowers regarding the benefits of loan

rehabilitation programs and certain collection costs; (iv) committed repeated payment processing

errors and failed to implement internal controls to prevent their re-occurrence, leading to

misapplied payments and the false reporting loans as delinquent; and (v) misreported the status

of military accounts. When the Individual Defendants no longer were able to conceal their

misconduct under the mounting number of customer complaints that were attracting regulators’

scrutiny, Navient’s reputation suffered, wiping much of its and stockholders’ value.

Unsurprisingly, this misconduct resulted in both regulatory and private action against the

Company, including two securities class actions, as well as lawsuits by the CFPB and State AGs,

causing both financial and reputational harm to the Company. Certain Individual Defendants

also capitalized on Navient’s artificially inflated stock price before Navient’s conduct was made

plain, making over $1.2 million dollars in stock sales.

       2.       Navient is a publicly traded company principally engaged in loan management

and servicing of private and federal student loans for approximately 12 million customers with

$300 billion in outstanding balances, including 6.1 million customers whose accounts are

serviced under Navient’s contract with the U.S. Department of Education (“DOE”). Navient’s

2017 net income was $292 million.

       3.       Beginning in at least May 14, 2014, and continuing until at least January 2018

(the “Relevant Period”), Navient engaged in a widespread and systemic practice of regularly

steering borrowers experiencing long-term financial hardship into forbearance, instead of

counseling them to enroll in IDR plans, which were more appropriate for their situation. The

Navient Board turned a blind eye while the Company violated federal law in order to avoid the



                                                 2
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 7 of 68



operating costs associated with enrollment in IDR plans, which required extra administrative and

time resources. Indeed, between January 2010 and March 2015, the number of borrowers

enrolled in forbearance exceeded the number of borrowers enrolled in IDR plans. Notably, this

practice occurred despite the fact that more than 50% of Navient borrowers, who needed

payment relief and were eligible for an IDR plan, qualified for a $0 monthly payment.

       4.       Due to a lack of necessary internal controls and compliance measures, Navient’s

customer service representatives also failed to adequately advise borrowers regarding a number

of loan servicing issues. First, while Navient managed to circulate notices to borrowers, it failed

to identify the applicable deadline by which their loan(s) was up for renewal in violation of state

and federal law. Neither did Navient provide adequate language apprising its customers of the

severe consequences of submitting an incorrect, incomplete, or untimely renewal form.

Furthermore, borrowers who consented to receiving electronic notices only received a boilerplate

email with a generic subject line that failed to alert borrowers in an IDR plan of the importance

of the email, resulting in over 60% of borrowers failing to timely renew their IDR plan

enrollment. Second, Navient imposed on their borrowers undisclosed hurdles to make cosigner

release less attainable. For example, Navient did not disclose to borrowers that making no

payment in response to a $0 balance monthly invoice would count as a failure to make an “on-

time payment,” delaying the required 12 months of “consecutive, on-time principal and interest

payments” in order for a cosigner to be released from payment obligations. Instead, Navient

reset borrowers’ progress, thereby delaying their fulfillment of the eligibility criteria for cosigner

release.

       5.       Furthermore, in a direct violation of state and federal laws and regulations,

Navient committed payment processing errors whereby Navient misallocated payments intended



                                                  3
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 8 of 68



and/or designated for a specific loan. Navient continued to commit such errors despite being

apprised of their occurrence and magnitude and failing to take any meaningful steps to reduce

these errors. This caused borrowers and cosigners to incur improper late fees and increased

interest charges, which Navient, in turn, reported inaccurately to consumer credit agencies,

negatively impacting borrowers’ credit.               Navient applied these sloppy procedures

indiscriminately.

       6.       As a consequence of the Company’s practices in violation of the applicable state

and federal laws and regulations, Navient’s customers frequently complained, only to be subject

to the same error time and again. As a result of growing negative customer sentiment, many

borrowers began to reach out to regulators, such as the CFPB and local agencies, which, in turn,

recorded an increased number of complaints sharing the same underlying grievances.

       7.       Notwithstanding the nature of Navient’s forbearance practices and its failure to

adequately service borrowers’ loans, the Individual Defendants continued to tout the credit

quality of its loan portfolio, financial results, compliance with regulatory requirements, and

liquidity and financing arrangements of the Company. Indeed, Navient’s regulatory filings with

the SEC – including the proxy statement that accompanied Navient’s Spin-Off (defined below)

from SLM Corporation (“Sallie Mae”) – are replete with managements’ assurances of Navient’s

improved credit quality of its loan portfolio, positive delinquency and charge-off trends, “robust

compliance driven culture,” and its capacity available under its credit facilities.

       8.       The Individual Defendants were well aware of Navient’s practices that were

violative of the law, and that there were no effective controls to gauge whether further Company

practices were compliant. Yet they failed to take any steps to prevent Navient’s illicit practices

from continuing.



                                                  4
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 9 of 68



       9.       As a result, Navient’s Board has not, and will not, commence litigation against the

Individual Defendants named in this Complaint, nor will they vigorously prosecute such claims,

because they face a substantial likelihood of liability to Navient for condoning, and failing to

stop, the Company from steering borrowers into forbearance and failing to adequately service

their customers’ loans. The Navient Board also faces a substantial likelihood of liability because

the Board members had actual knowledge that Navient and certain executives made false

statements in violation of the federal securities laws. Additionally, the Individual Defendants

face a substantial likelihood of liability to Navient for failing to correct and/or implement the

necessary internal controls to prevent the harm to the Company that has occurred and is certain

to continue to occur.

       10.      Moreover, while they knew Navient was engaging in the practices described

herein, and while the Company’s stock traded at artificially inflated prices as a result, Board

member Defendants William M. Diefenderfer, III (“Diefenderfer”), Ann Torre Bates (“Bates”),

and Diane Suitt Gilleland (“Gilleland”) disposed of their personal holdings of Navient stock for a

collective total exceeding $1.2 million. Thus, a pre-suit demand upon the Board is a useless and

futile act, and Plaintiff rightfully brings this action on Navient’s behalf.

II.    JURISDICTION AND VENUE

       11.      Jurisdiction lies pursuant to Article III, Section 2 of the United States Constitution

at 28 U.S.C. §1331. The claims asserted herein arise under §§10(b), 14(a) and 29(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§78j(b), 78n(a), 78t(a), and

78cc(b), and Rules 10b-5, 17 C.F.R. §240.10b-5, and 14a-9, 17 C.F.R. §240.14a-9, promulgated

thereunder. This Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367 as to the state

law claims alleged, as they arise out of the same transactions and occurrences as the federal

claims. In connection with the wrongdoing complained of herein, Defendants (defined below)

                                                   5
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 10 of 68



used the means and instrumentalities of interstate commerce, the U.S. mail, and the facilities of

the national securities markets.

        12.      This Court has personal jurisdiction over each of the Defendants named herein

because each Defendant is either a corporation incorporated, maintaining its principal executive

offices, and operating in this District, or is an individual who maintains a place of business in

this District or has sufficient minimum contacts with this District, so as to render the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

Further, the Individual Defendants conducted much of the wrongdoing complained of herein in

this District.

        13.      Venue is proper in this jurisdiction pursuant to §27 of the Exchange Act, 15

U.S.C. §78aa, as well as 28 U.S.C. §1391(b). Venue is proper in this Court pursuant to 28

U.S.C. §1391(b) because: (i) Navient is headquartered in, and therefore is a resident of, the State

of Delaware; (ii) one or more of the Individual Defendants either resides or maintains executive

offices in this District; (iii) a substantial portion of the transactions and wrongs complained of

herein, including the Individual Defendants’ primary participation in the wrongful acts detailed

herein in violation of fiduciary duties owed to Navient and its stockholders, occurred in this

District; and (iv) the Individual Defendants have received substantial compensation in this

District by doing business here and engaging in numerous activities that had an effect in this

District.

III.    PARTIES

        A.       Plaintiff

        14.      Plaintiff Buffalo Grove Police Pension Fund is a current stockholder of Navient,

has continuously held Navient stock since at least April 2014, and is committed to retaining

Navient shares throughout the pendency of this action to preserve its standing. Plaintiff will

                                                  6
           Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 11 of 68



adequately and fairly represent the interests of Navient and its stockholders in enforcing his

rights.

          B.     Nominal Defendant

          15.    Nominal Defendant Navient is a Delaware corporation with its principal executive

offices located at 123 Justison Street, Wilmington, Delaware 19801. Navient came to exist as a

result of its separation from Sallie Mae in April 2014 through the distribution of the Company’s

common stock to the stockholders of Sallie Mae (the “Spin-Off”).              Navient is principally

engaged in loan management and servicing of private and federal student loans. The Company

services loans for approximately 12 million customers, including 6.1 million customers whose

accounts are serviced under Navient’s contract with the DOE. Navient’s 2017 net income was

$292 million.1

          16.    Navient underwent a corporate reorganization in 2014.         Navient became the

successor to Sallie Mae and Navient, LLC. In connection with the reorganization, Navient

assumed liabilities relating to servicing and collection conducted by Navient, LLC and their

subsidiaries, including, Pioneer Credit Recovery, Inc. (“Pioneer”).       The liabilities assumed

include the servicing and collection practices described in this Complaint.

          17.    Navient wholly owns its subsidiary, Pioneer, which is principally engaged in debt

collection of outstanding and delinquent student loans. Pioneer is a “debt collector” within the

Consumer Financial Protection Act of 2010 (“FCPA”), 12 U.S.C. §1692a(6). Navient is the

direct or indirect owner of all of the stock of Pioneer.

          18.    Pioneer is a wholly owned subsidiary of Navient Corp. and is headquartered in

Arcade, New York. Pioneer is engaged in the debt collection of Navient’s outstanding and

delinquent student loans. Pioneer is not named as a Defendant in this action.
1
          See Navient Corp., Annual Report at 38 (Form 10-K) (Feb. 26, 2018).

                                                  7
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 12 of 68



       19.    The Navient Code of Conduct 2 applies to “all other direct and indirect

subsidiaries of Navient.” Id. at 5. In order for a Navient director to be considered independent,

according to the policies annunciated in Navient’s own Governance Guidelines, 3 the director

must be independent of the employees and services of all of Navient’s subsidiaries. Id. at 2. In

addition, there is significant overlap in the management of Navient and Pioneer. For instance,

Jack Frazier, a current director and the former President of Pioneer, also serves as Senior Vice

President for Navient, and Jeff Mersmann, the current President of Pioneer, also serves as Vice

President for Navient.

       C.     Director Defendants

       20.    Defendant Remondi has served as the President and CEO of Navient since its

Spin-Off from Sallie Mae in April 2014. He also has served as a director on the Board since the

Company’s inception in April 2014. Prior to the Spin-Off, Defendant Remondi served as Sallie

Mae’s President and Chief Operating Officer (“COO”).           Defendant Remondi signed the

Sarbanes-Oxley Act of 2002 (“SOX”) Certifications on a number of Navient’s quarterly and

annual regulatory filings in 2014, 2015, and 2016.

       21.    Defendant Diefenderfer has served as the Chairman of the Board since the

Company’s Spin-Off from Sallie Mae in April 2014. Prior to the Spin-Off, he served as a

member of the Sallie Mae Board of Directors.




2
       Code of Business Conduct, NAVIENT (Aug. 2017), https://www.navient.com/assets/about/
investors/corp-governance/business-code/Navient-CodeOfBusinessConduct.pdf (the “Code of
Conduct”).
3
        Board Governance Guidelines for Navient Corporation, NAVIENT (Nov. 2017),
https://www.navient.com/assets/about/investors/corp-governance/Navient-BoardGuidelines.pdf
(the “Governance Guidelines”).

                                                8
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 13 of 68



        22.     Defendant Anna Escobedo Cabral (“Cabral”) has served as a director on the

Board since December 2014 and served as acting Chair of the Audit Committee on two

occasions in 2016.

        23.     Defendant Katherine A. Lehman (“Lehman”) has served as a director on the

Board since December 2014.

        24.     Defendant Linda A. Mills (“Mills”) has served as a director on the Board since

the Company’s Spin-Off from Sallie Mae in April 2014.

        25.     Defendant Jane J. Thompson (“Thompson”) has served as a director on the Board

since the Company’s Spin-Off from Sallie Mae in April 2014.

        26.     Defendant Laura S. Unger (“Unger”) has served as a director on the Board and

Vice Chairman of the Audit Committee since December 2014.

        27.     Defendant Barry L. Williams (“Williams”) has served as a director on the Board

since the Company’s Spin-Off from Sallie Mae in April 2014. He was previously a member of

the Sallie Mae Board of Directors.

        28.     Defendants Remondi, Diefenderfer, Cabral, Lehman, Mills, Thompson, Unger,

and Williams are referred to herein as the “Director Defendants” and are comprised of 8 of the

10 total members of the current Navient Board, which is a majority of the Board, as of the time

of the filing of this Complaint. 4

        29.     Defendants Diefenderfer, Unger, Cabral, Thompson, and Williams are referred to

herein as the “Audit Committee Defendants.”

        30.     Defendants Williams, Cabral, Lehman, Mills, and Thompson are referred to

herein as the “Finance and Operations Committee Defendants.”

4
       The sole remaining Board member, David L. Yowan, was appointed to the Navient Board
on April 4, 2017 and is not named as a Defendant in this action.

                                               9
        Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 14 of 68



       D.     Former Director and Executive Defendants

       31.    Defendant Gilleland has served as a director on the Board since the Company’s

Spin-Off from Sallie Mae in April 2014. Prior to the Spin-Off, she served as a member of the

Sallie Mae Board of Directors.

       32.    Defendant John K. Adams (“Adams”) joined the Board in December 2014.

       33.    Defendant Bates served as a director on the Board and the Chair of the Audit

Committee following the Company’s Spin-Off from Sallie Mae in April 2014. Defendant Bates

was a member of the Board and Chair of the Audit Committee until May 25, 2016, at which time

she became Chair of the Nominations and Governance Committee. She continued to serve on

the Audit Committee until her resignation from the Board on August 16, 2016.

       34.    Defendant Steven L. Shapiro (“Shapiro”) served as a director on the Board

following the Company’s Spin-Off from Sallie Mae in April 2014. Defendant Shapiro also

served on the Compensation and Personnel Committee and the Nominations and Governance

Committee during 2016 until his retirement from the Board in May 2016.

       35.    Defendant Barry A. Munitz (“Munitz”) served as a director on the Board since the

Company’s Spin-Off from Sallie Mae in April 2014 until his retirement, effective May 25, 2017.

Defendant Munitz served on the Nominations and Governance Committee through 2016. Upon

the departure of Defendant Bates in August 2016, the Board appointed Defendant Munitz as

Chair of the Nominations and Governance Committee.

       36.    Defendant Hynes has been Navient’s Executive Vice President of Consumer

Lending since June 2017. Defendant Hynes previously served as the Company’s Chief Risk &

Compliance Officer from April 2014 to June 2017. Hynes oversaw credit risk, compliance, and

information security at the Company during the Relevant Period.



                                              10
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 15 of 68



       37.     Defendant Somsak Chivavibul (“Chivavibul”) served as the Chief Decision

Management Officer and Executive Vice President of Navient from March 27, 2017 to March

2018. Defendant Chivavibul previously served as the Chief Financial Officer of Navient from

April 2014 until March 26, 2017. Chivavibul joined Sallie Mae in 1992 and worked at various

positions there.

       38.     Defendant John M. Kane (“Kane”) has been Group President of Business

Processing Solutions at Navient since June 3, 2015. Defendant Kane oversaw the corporate

transaction creating Navient as a separate entity from Sallie Mae, and served as Navient’s COO

during its first year, from April 2014 to June 2015.

       39.     Defendant Christian M. Lown (“Lown”) has been Chief Financial Officer and

Executive Vice President of Navient since March 27, 2017.

       40.     Defendants Diefenderfer, Adams, Cabral, Gilleland, Lehman, Mills, Remondi,

Thompson, Unger, Williams, Bates, Shapiro, Munitz, Hynes, Chivavibul, and Lown are referred

to herein as the “Individual Defendants.”

       41.     Nominal Defendant Navient and the Individual Defendants are referred to herein

as the “Defendants.”

IV.    THE INDIVIDUAL DEFENDANTS’ DUTIES AND OBLIGATIONS

       A.      Duties of All Individual Defendants

       42.     By reason of their positions as present or past officers and/or directors, and by

virtue of their ability to control the business and corporate affairs of Navient, each Individual

Defendant owed, and owes, Navient and its stockholders fiduciary obligations of loyalty, good

faith, and candor and were, and are, required to use their utmost ability to control and manage the

Company in a lawful, fair, just, honest, and equitable manner. The Individual Defendants were,




                                                11
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 16 of 68



and are, required to act in furtherance of the best interests of Navient and its stockholders, so as

to benefit all stockholders equally and not in furtherance of their personal interest or benefit.

       43.     By virtue of their fiduciary duties of loyalty, good faith, and candor, each

Individual Defendant was required to, among other things:

               a.      exercise good faith to ensure that Navient’s affairs were conducted in an
                       efficient, business-like manner;

               b.      exercise good faith to ensure that Navient was operated in a diligent,
                       honest, and prudent manner and complied with all applicable federal and
                       state laws, rules, regulations, requirements, and contractual obligations,
                       including acting only within the scope of its legal authority;

               c.      when put on notice of problems with Navient’s business practices and
                       operations, exercise good faith in taking appropriate action to correct the
                       misconduct and prevent its recurrence; and

               d.      remain informed as to how Navient conducted its operations and upon
                       receipt of notice or information of imprudent or unsound conditions or
                       practices, make reasonable inquiry in connection therewith.

       44.     The Individual Defendants’ conduct complained of herein involves a knowing and

culpable violation of their obligations as directors and/or officers of Navient, the absence of good

faith on their part, and a reckless disregard for their duties to the Company and its stockholders,

which the Individual Defendants were, or should have been, aware posed a risk of serious harm

to the Company.

       45.     Navient’s Certificate of Incorporation 5 authorizes the Company to engage only

“lawful act or activity.” Id. at 1. Similarly, the Company’s Code of Conduct, which is binding

on all employees of Navient, including its directors and officers, expressly mandates that

“[s]pecific laws and regulations that pertain to all areas of [the Company’s] business must be

followed.” Code of Conduct at 7.

5
       Amended and Restated Certificate of Incorporation of Navient Corporation,
NAVIENT.COM (Mar. 21, 2014), https://www.navient.com/assets/about/investors/corp-gover
nance/Navient-CertificateOfIncorporation.pdf (the “Certificate of Incorporation”).

                                                 12
           Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 17 of 68



       46.     The Code of Conduct expressly recognizes that “accurate books and records are

critical[]” and that “[i]naccurate, false, misleading, incomplete or careless record keeping is not

acceptable[,]” which principle “applies to every facet of [Navient’s] business.” Id. Navient

expressly acknowledges that its customers “depend on the information they receive from

[Navient] and expect it to be accurate[,]” and that a “[c]ommitment to accuracy enhances our

reputation in the business community and minimizes potentially costly legal exposure.” Id.

[emphasis added].

       47.     The Code of Conduct also prohibits Navient’s employees from taking “unfair

advantage of another individual or company through manipulation, concealment, abuse of

confidential, proprietary or privileged information or misrepresentation of material facts.” Id. at

18.

       48.     In addition, Navient’s Governance Guidelines explicitly require that it oversee

and have ultimate responsibility for the Company’s risk management:

       The Board and its standing committees oversee the [Company]’s overall risk
       management framework—including risk management philosophy, risk tolerances
       and risk parameters—and they periodically review this risk management
       framework in light of the major risks and issues facing the [Company].

Governance Guidelines at 6.

       49.     Navient’s 2015, 2016, and 2017 Proxy Statements highlight the following

responsibilities of the members of the Board of Directors:

       •     Review Navient’s long-term strategies and set long-term performance
             metrics;

       •     Review and approve Navient’s annual business plan and multi-year
             strategic plan, periodically review performance against such plans and
             ensure alignment between the Company’s actions and its longer-term
             strategic objectives;




                                                13
           Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 18 of 68



       •       Review risks affecting Navient and its processes for managing those risks,
               and oversee assignment and performance of various aspects of risk
               management, compliance and governance; [and]

                                                 * * *

       •       Oversee financial matters, including financial reporting and financial
               controls[.] 6

       B.        Additional Duties of the Audit Committee Defendants

       50.       According to the Audit Charter 7, the purpose of the Audit Committee is to, among

other things:

       [A]ssist the board in its oversight of:

       (i)       the integrity of the Company’s financial statements;

       (ii)      the Company’s systems of internal controls;

                                                 * * *

       (iv)      the performance of the Company’s internal audit function;

       (v)       the Company’s compliance with legal and regulatory requirements;
                 [and]

                                                 * * *

       (vii)     the development, maintenance and governance of the Company’s risk
                 profile and risk management policy, standards and program, including the
                 risk appetite statement and enterprise risk management program, all as to
                 be approved by the Board.

Id. at 1 [emphasis added].

       51.       Additionally, the Audit Committee is charged with the responsibility of

“[r]eview[ing] and discuss[ing] with management”:


6
       Navient Corp., Schedule 14A at 19 (Form DEF 14A) (Apr. 13, 2017) (“2017 Proxy
Statement”) [emphasis added]; Navient Corp., Schedule 14A (Form DEF 14A) (Apr. 15, 2016)
(“2016 Proxy Statement”); Navient Corp., Schedule 14A (Form DEF 14A) (Apr. 10, 2015)
(“2015 Proxy Statement”) (collectively, the “Proxy Statements”).
7
     Audit Committee of the Board of Directors Charter, NAVIENT.COM (Aug. 2017), https://
www.navient.com/assets/Navient-AuditCommittee.pdf (the “Audit Charter”).

                                                  14
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 19 of 68



        (a)     major issues regarding critical accounting policies, accounting
                principles and financial statement presentations, including (i) any
                significant changes in the Company’s selection or application of
                accounting principles; (ii) significant issues as to the adequacy of the
                Company’s internal controls and any special audit steps adopted in light
                of material control deficiencies, and (iii) any communications between
                the independent audit team and the independent auditor’s national office
                regarding auditing or accounting issues presented by the engagement;

        (b)     analyses and reports prepared by management and/or the independent
                auditor setting forth significant financial reporting issues and
                judgments made in connection with the preparation of the financial
                statements, including analyses of the effects of alternative GAAP methods
                on the financial statements;

        (c)     the effect of regulations and accounting standards on the financial
                statements of the Company;

        (d)     the Company’s periodic financial statements and management’s bases
                for making critical accounting estimates and assumptions contained
                therein, including the Company’s disclosures under “Management’s
                Discussion and Analysis of Financial Condition and Results of
                Operations” included in the Company’s periodic reports; and

        (e)     the Company’s earnings press releases and related disclosures of
                historical and forecasted financial information of the Company,
                including earnings guidance.

Id. at 2-3 [emphasis added].

        52.     Most importantly, the Audit Committee was also delegated responsibility over

“Legal, Regulatory, Compliance, and Risk Oversight” that, amongst other things, includes the

responsibility to:

        (17)    Review the Company’s procedures for the receipt, retention and
                handling of complaints regarding accounting, internal accounting
                controls and auditing matters, including procedures for the confidential,
                anonymous submission of complaints by employees about accounting
                and auditing matters.

        (18)    Review the Company’s compliance programs on a periodic basis,
                including (i) compliance risk assessment, (ii) compliance plan, and (iii)
                significant breaches or violations of compliance policies or the Company’s
                Code of Business Conduct.



                                                15
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 20 of 68



                                            * * *

       (20)    Review material pending or potential legal and regulatory matters
               affecting the Company.

       (21)    At least annually review and recommend to the Board for its approval the
               Company’s risk appetite framework and risk tolerances.

       (22)    Periodically review with management and the Chief Risk Officer the
               framework for assessing and managing the risks of the Company, and the
               steps management is taking to monitor and control such risk.

       (23)    Periodically review the Company’s compliance, performance and
               governance processes against the risk measures and limits contained in
               the Company’s Board approved risk appetite framework relating to the
               Company’s compliance program, legal risk, governance risk pertaining
               to the Company’s control environment and policies, the Company’s
               internal and external auditors, Code of Business Conduct, SEC rules,
               and compliance with NASDAQ listing standards.

       (24)    Identify for the Finance and Operations Committee any risk or compliance
               matter that merits a remediation or action plan.

Id. at 5 [emphasis added].

       C.      Additional Duties of the Finance and Operations Committee Defendants

       53.     The Finance Charter 8 provides that the Finance and Operations Committee

Committee’s purpose is to assist the Board with providing oversight with respect to “material

corporate finance matters,” “business and technology operations[,]” “marketing and product

development[,]” and the “oversight, mitigate[ion] and remediat[ion of] operational risk.” Id. at

1.   To effect that purpose, the Finance and Operations Committee has been delegated the

authority, amongst other things, to:

       (2)     Review the credit standing and financial risk profile of the Company,
               including, without limitation, existing liquidity, capital market access,
               credit, interest rate and currency risks and review with management the
               steps taken to manage such risks.

8
        Finance and Operations Committee of the Board of Directors Charter, NAVIENT.COM
(Aug. 2017), https://www.navient.com/about/investors/corp_governance/board_charters/default.
aspx (the “Finance Charter”).

                                              16
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 21 of 68



       (3)     Review and approve the Company’s investment, asset and liability
               management and contingency funding policies.

       (4)     Oversee the Company’s capital management policies, liquidity position,
               capital adequacy equity investments, proposed issuance of equity or debt
               by the Company and its affiliates, and plans to return capital to
               shareholders through dividends and share repurchase activity.

                                             * * *

       (6)     Review material commercial banking, investment banking, insurance, and
               other financial relationships of the Company.

       (7)     Review of the Company’s performance against its annual business plan
               and the performance of each of its investments or acquisition versus
               plan.

Id. at 2 [emphasis added].

       54.     Additionally, with respect to student loan portfolios, the Finance and Operations

Committee has the authority and responsibility to:

       (13)    Review asset quality, administration and management of the Company’s
               private student loan portfolio.

       (14)    Review the administration and management of the Company’s federal
               family education loan program loan portfolio.

       (15)    Review asset quality, administration and management of the Company’s
               other loan portfolios, as the case may be.

Id. at 3 [emphasis added].

       55.     Finally, the Finance and Operations Committee is also responsible for

“[p]eriodic[] review [of] the Company’s compliance and performance against the risk

measures and limits contained in the Company’s Board approved risk appetite framework

relating to credit risk; market risk; funding & liquidity risk; operational risk pertaining to key

business processes, including loan servicing, collections, information technology, and vendor

management.” Id. [emphasis added].




                                               17
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 22 of 68



V.     SYSTEMATIC DEFICIENCIES CAUSE NAVIENT TO VIOLATE POSITIVE
       LAW FROM ITS INCEPTION

       A.      The Federal Government’s Student Loan Programs

       56.     The U.S. Department of Education offers prospective students aid to help pay for

their education in the form of federal student loans. Generally, federal student loans come in two

main categories: Direct Unsubsidized Loans; and Direct Subsidized Loans. Direct Unsubsidized

Loans are available to undergraduate students without requiring them to demonstrate financial

need. 9 For these loans, all interest that the borrower does not pay while enrolled at school, or

during grace periods, deferment, or forbearance periods, accrues and is added to the principal

amount of the loan.      Id.   On the other hand, Direct Subsidized Loans are available to

undergraduate students demonstrating financial need. Id. The DOE pays interest on Direct

Subsidized Loans: (i) while the borrower is enrolled in school at least half-time; (ii) for the first

six months after the borrower leaves school; and (iii) during a period of deferment. Id.

       57.     Once the borrower begins repayment of the student loan, he or she can choose a

repayment plan, or if none is chosen, a standard repayment plan is automatically assigned. 10 A

borrower can switch to a different plan for free at any time during the repayment period to suit

his or her own individual needs and goals. Id.

       58.     The DOE offers a number of repayment plans.                Since 2009, the federal

government started offering IDRs, which calculate the borrower’s monthly student loan

payments according to the borrower’s income and family size. Id. The DOE offers four types of


9
       Fed. Student Aid, Office of U.S. Dep’t of Educ., Types of Aid: Subsidized and
Unsubsidized Loans, STUDENTAID.ED.GOV (2018), https://studentaid.ed.gov/sa/types/loans/subs
idized-unsubsidized.
10
        Fed. Student Aid, Office of U.S. Dep’t of Educ., How to Repay Your Loans: Forgiveness,
Cancellation, and Discharge, STUDENTAID.ED.GOV (2018), https://studentaid.ed.gov/sa/repay-
loans/forgiveness-cancellation.

                                                 18
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 23 of 68



IDR plans, including the “Revised Pay As You Earn Repayment Plan (REPAY)”; “Pay As You

Earn Repayment Plan (PAYE)”; “Income-Based Repayment Plan (IBR)”; and “Income-

Contingent Repayment Plan (ICR).” Id. Most federal loans are eligible for at least one of these

IDR plans.

       59.     There is no required type of employment necessary to enroll in one of the four

IDR plans. Monthly payments under IDR plans are generally calculated as a percentage of

discretionary income. Accordingly, payment under an IDR plan could be as low as $0 per month

for low-income borrowers.

       60.     In addition to providing more affordable monthly payments, most IDR plans offer

several other benefits, especially for borrowers who are experiencing a long-term financial

hardship, including:

               •       Forgiveness of the remaining debt balance after 20 or 25 years of qualifying
                       payments (depending on the type of IDR plan) (id.);

               •       Forgiveness of the remaining debt balance after 10 years of qualifying
                       payments while working full time in public service, under the Public Service
                       Loan Forgiveness (“PSLF”) program (id.); and

               •       Forgiveness of unpaid interest on subsidized loans during the first three
                       years of enrollment in an IDR plan. The borrower will have no obligation to
                       ever repay the three years’ worth of interest, because the federal government
                       will pay the interest in full, preventing it from being added to the principal
                       balance of the loan. Id.

       B.      Forbearance Is Intended for Short Term Financial Hardship and Is Not
               Suitable as a Long Term Solution

       61.     Federal student loans, including both subsidized and unsubsidized loans, are also

eligible for forbearance, which is a period during which the borrower’s monthly loan payments

are temporarily suspended or reduced. Forbearances are intended for circumstances when the

borrower is unable to make payments. As the DOE makes clear, forbearance is a “good short-

term solution[]” for borrowers who “are struggling to repay [their] loans due to a temporary

                                                  19
          Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 24 of 68



circumstance[.]” 11 Consistent with this, Navient’s website suggests forbearance is intended for

borrowers who “have a problem making on-time payments due to a temporary financial

difficulty[.]” 12

        62.         During forbearance, principal payments are postponed, but interest continues to

accrue and is added to the principal balance of the loan upon the expiration of the forbearance,

increasing the total amount the borrower owes.             Additionally, borrowers who enroll in

forbearance face significant costs, which generally increase the longer the borrower is in

forbearance. Consequently, the risk of accumulation of unpaid interest and its addition to the

principal balance of the loan make forbearance unsuitable as a long-term solution. As the DOE

website provides, forbearance is not suitable for borrowers who are “having trouble repaying

loans due to circumstances that may continue for an extended period[.]” 13 Because income-

driven repayment plans allow borrowers to avoid or reduce the costs associated with forbearance,

for borrowers who experience long-term financial hardship, IDR plans are a significantly better

option than forbearance.

        63.         The DOE encourages borrowers to consult their servicers before making decisions

regarding the repayment of their student loans, including, but not limited to, the following

examples:




11
       Fed. Student Aid, Office of U.S. Dep’t of Educ., How to Repay Your Loans: Deferment
and Forbearance, STUDENTAID.ED.GOV (2018), https://studentaid.ed.gov/sa/repay-loans/defer
ment-forbearance.
12
       Navient Solutions, LLC, Postponing Payments: Deferment and Forbearance,
NAVIENT.COM (2018), https://www.navient.com/loan-customers/postponing-payments/deferment
-and-forbearance.
13
       Fed. Student Aid, Office of U.S. Dep’t of Educ., How to Repay Your Loans: Deferment
and Forbearance, STUDENTAID.ED.GOV (2018), https://studentaid.ed.gov/sa/repay-loans/defer
ment-forbearance.

                                                   20
        Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 25 of 68



             •   Always contact your loan servicer immediately if you are having trouble
                 making your student loan payments [(id.);]

             •   Your loan servicer can help you understand which repayment options are
                 available to you[;] 14

             •   If you are unable to make your scheduled loan payments, contact your
                 loan servicer immediately. Your loan servicer can help you understand
                 your options for keeping your loan in good standing [(id.); and]

             •   The loan servicer will work with you on repayment plans and loan
                 consolidation and will assist you with other tasks related to your federal
                 student loan. It is important to maintain contact with your loan
                 servicer[.] 15

       64.       Like the DOE, Navient encouraged borrowers to contact Navient for advice

regarding their repayment options and alternatives. For example, Navient’s website included the

following statements:

             •   [I]f you’re having trouble, there are options for assistance, including
                 income-driven repayment plans, deferment, forbearance, and solutions to
                 help you avoid delinquency and prevent default. . . . Contact Navient and
                 your other loan servicers. We can work with you to help you get back on
                 track, and are sometimes able to offer new or temporarily reduced
                 payment schedules. Contact us at 800-722-1300 and let us help you make
                 the right decision for your situation. 16

             •   We understand life sometimes takes unexpected turns, and challenging
                 situations come up when we least expect them. If you’re experiencing
                 problems making your loans payments, please contact us. Our




14
       Fed. Student Aid, Office of U.S. Dep’t of Educ., Types of Aid: Subsidized and
Unsubsidized Loans, STUDENTAID.ED.GOV (2018), https://studentaid.ed.gov/sa/types/loans/subs
idized-unsubsidized.
15
        Fed. Student Aid, Office of U.S. Dep’t of Educ., How to Repay Your Loans: Loan
Servicers, STUDENTAID.ED.GOV (2018), https://studentaid.ed.gov/sa/repay-loans/understand/
servicers.
16
       Navient Solutions, LLC, Postponing Payments: If You’re Having Trouble, NAVIENT.COM
(2018), https://www.navient.com/loan-customers/postponing-payments/if-you-are-having-trouble.

                                                 21
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 26 of 68



                 representatives can help you by identifying options and solutions, so you
                 can make the right decision for your situation. 17

             •   IMPORTANT: Stay in touch with your servicer. 18

             •   What should you do if you are having trouble making your monthly loan
                 payments? [Answer:] Call your servicer for help. 19

       65.       Navient’s 2017 Proxy Statement highlighted Navient’s commitment to counseling

borrowers regarding the appropriate repayment plans, stating, in relevant part:

       At Navient, we use our experience and expertise to assist our customers
       navigating the complex federal student loan program by helping them understand
       their many options so they can choose the solution that best fits their needs. The
       results are outstanding.

                                              * * *

       We deliver this industry-leading performance by using our expertise and
       sophisticated data analytics to better identify customers who need extra support,
       reach out in ways that result in higher rates of contact, and present repayment
       options they can select to fit their budget.

[Emphasis added.]

       C.        Navient Systematically Favored Forbearance over IDRs, Even Where an
                 IDR Would Guarantee Payment to Navient by the Federal Government

       66.       Notwithstanding Navient’s express commitments and guarantees that it would

help its customers identify optimal repayment options, the Individual Defendants caused Navient

to engage in a pervasive and systemic practice of regularly and indiscriminately steering

borrowers, who were experiencing long-term financial hardship, into forbearance instead of

advising them to enroll in more appropriate repayment plans, such as IDRs.
17
        Navient Solutions, LLC, Postponing Payments: Avoiding Delinquency and Default,
NAVIENT.COM (2018), https://www.navient.com/loan-customers/postponing-payments/avoiding-
default.
18
       Navient Solutions, LLC, Student Loan Repayment Options: Examples, NAVIENTPATH.COM
(2018), https://www.navientpath.com/navientpath/curriculum/show?enrollment_id=22003288&
part=1&signup=1#navient-student-loan-repayment-options/examples/page-50.
19
      Id., https://www.navientpath.com/navientpath/curriculum/show?enrollment_id=22003288
&part=1&signup=1#navient-student-loan-repayment-options/examples/page-8.

                                                22
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 27 of 68



        67.    IDRs require an enrollment application process be completed, as well as an

annual recertification to document a borrower’s current income and household size in order to

calculate monthly payments. Processing of that paperwork required additional time that Navient

employees were discouraged to dedicate to IDR borrowers, as a result of Navient’s compensation

model that instead, systematically favored forbearance.

        68.    This widespread practice of swaying borrowers into forbearance plans occurred as

a result of Navient’s compensation policies. Navient’s employees were incentivized to push

borrowers into forbearance without adequately exploring IDRs, and in some cases, without even

mentioning IDRs at all. Navient’s management compensated its customer representatives based,

in part, on average call time, thereby dis-incentivizing employees from engaging in the required

enrollment application or annual recertification forms generally necessary for enrollment in

IDRs.

        69.    Navient engaged in this practice in order to avoid operating costs associated with

enrolling borrowers into IDR plans. Because forbearance enrollment, in contrast, only requires a

few-minute phone conversation, Navient customer representatives routinely and systematically

favored forbearance without regard to its effect on loan principal or the long-term risk that a loan

continually pushed into forbearance would lead to increasingly difficult payments for borrowers.

As the CFPB observed, “[a]s the volume of [IDR] applications and renewals received by Navient

increases, Navient also has to increase the size of its staff to review and process those forms,

thereby increasing operating costs.”

        70.    As a result of these forbearance practices, between January 2010 and March 2015,

the number of borrowers that Navient enrolled in forbearance had generally exceeded the

number of borrowers enrolled in IDRs.         For example, in December 2010, around 9% of



                                                23
        Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 28 of 68



borrowers with Federal Family Education Loan Program (“FFELP”) loans held and serviced by

Navient were enrolled in voluntary forbearance, while less than 1% of borrowers with the same

loan type were enrolled in IDRs. Similarly, in December 2012, approximately 7% of Navient’s

borrowers with FFELPs were enrolled in forbearance, but only 2% were enrolled in IDRs.

       71.    Navient customer service representatives regularly responded to borrowers’

inability to make payments by placing them into voluntary forbearance without adequately

advising them about the availability of more suitable alternatives, such as the IDRs. This

practice occurred despite the fact that more than 50% of Navient borrowers, who needed

payment relief and were eligible for IDRs, qualified for a $0 monthly payment. Indeed, the

CFPB reported that between January 1, 2010 and March 31, 2015: (i) nearly 25% of borrowers,

who ultimately enrolled in IDRs with a $0 monthly payment, were enrolled in voluntary

forbearance within the 12-month period immediately preceding their enrollment in IDRs; and

(ii) nearly 16% of borrowers, who ultimately enrolled in PAYE (a specific subset of IDR) with a

$0 payment, were enrolled in voluntary forbearance within the 12-month period immediately

preceding their enrollment in PAYE.

       72.    To make things worse, Navient enrolled many borrowers in multiple, consecutive

forbearances even though they had clearly demonstrated a long-term inability to repay their

loans. According to the PAAG’s complaint, captioned Commonwealth of Pa. v. Navient Corp.,

No. 3:17-cv-01814 (M.D. Pa. Oct. 5, 2017) (the “PAAG Compl.”), between January 1, 2010 and

March 31, 2015, Navient enrolled over 1.5 million borrowers in two or more consecutive

forbearances totaling 12 months or longer. PAAG Compl. ¶122. More than 30% of these

borrowers were enrolled in three consecutive forbearances and almost 35% were enrolled in four

or more consecutive forbearances, with each forbearance period lasting, on average, six months.



                                              24
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 29 of 68



Id. ¶¶122-23.     Therefore, nearly one million borrowers were continuously enrolled in

forbearance for a period of two to three years, or more. Id. ¶122.

       73.      Enrollment in multiple consecutive forbearances imposed staggering financial

cost on 1.5 million borrowers serviced by Navient, negatively affecting their ability to pay the

balance of their loans. Id. ¶124. Had these borrowers been enrolled in an IDR, the federal

government would have paid Navient the totality of the unpaid interest on the borrowers’

subsidized loans during the first three years of their consecutive enrollment and borrowers would

have avoided many of the additional charges. Id.

       D.       Navient Provided Borrowers with Inadequate Notice Regarding Annual
                Renewals

       74.      In order to qualify for an affordable payment based on income, federal student

borrowers enrolled in an IDR must provide updated income and household size documentation to

their loan servicer each year. The affordable payment remains in place for a period of 12 months

and expires if no renewal is received. Negative consequences result when a borrower fails to

submit an annual renewal, including: (1) the borrower’s monthly payment amounts may

increase; (2) any unpaid interest is added to the principal balance of the loan; (3) borrowers

enrolled in subsidized loans will lose the interest subsidy paid by the federal government in each

month until the borrower renews his/her enrollment; and (4) progress towards loan forgiveness is

delayed for borrowers who enroll in forbearance at the expiration of the 12-month period. These

consequences are irreversible.

       75.      When a borrower enrolled in an IDR with Navient, the Company sent the

borrower an “initial disclosure notice” identifying the beginning and end dates of the initial

enrollment in the repayment plan. The notice advised borrowers: “You’ll be notified in advance




                                                25
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 30 of 68



when your loan(s) is up for renewal for the [IDR]. At that time, you’ll be provided with a date to

submit a new application.” The notice did not identify a renewal deadline.

       76.     Since at least January 1, 2010, federal loan servicers have been obligated to send

at least one written notice concerning the annual renewal requirements to borrowers in advance

of their renewal deadline. Navient’s written notices sent between January 1, 2010 and December

2012 did not inform borrowers of the actual date by which they had to submit their renewal

application to maintain their income-based, lower payments. Instead, Navient’s written notices

vaguely stated that the repayment period would “expire in approximately 90 days” and that the

“renewal process may take at least 30 days,” making it impossible for the borrower to determine

whether their renewal application would be processed by the actual renewal deadline.

       77.     Besides failing to clearly identify a deadline for renewal, Navient’s notices also

failed to advise borrowers of the consequences of submitting renewal forms that are incomplete,

inaccurate, or untimely.    Instead, the notice only stated that “by providing incorrect or

incomplete information the [renewal] process will be delayed,” falsely implying that delay is the

only consequence of any such inadequate submission. Navient’s notices said nothing at all to

inform the borrowers that a submission of incomplete, inaccurate, or untimely renewal

application would have the same consequence as not submitting one at all.

       78.     For Navient’s borrowers who consented to electronic notices (more than 75%

consented), Navient sent these notices via an email containing a hyperlink to its website. The

hyperlink lead borrowers to Navient’s portal, which could only be accessed by logging in with

the borrowers’ user ID and password. Borrowers who accessed Navient’s portal were able to

view an electronic version of the renewal notice sent via U.S. mail to other borrowers. Neither

the subject line of the email nor the content of the email contained anything that would alert



                                               26
            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 31 of 68



borrowers to the purpose of the email. Instead, from at least January 1, 2010 through November

15, 2010, Navient’s emails were sent with a generic subject line, which merely read “Your Sallie

Mae Account Information.” From at least November 16, 2012 through March 18, 2015, the

subject line of Navient’s email was “New Document Ready to View.” Similarly, until mid-2015,

the body of the email merely provided: “a new education loan document is available. Please log

in to your account to view it.”

        79.     Unlike Navient’s mailed correspondence containing renewal documents,

Navient’s electronic correspondence sent during the same time period regarding other issues

clearly identified the purpose and content of the referenced document. For example, one such

email indicated in the subject line “Your Sallie Mae – Department of Education Statement is

Available” and the body of the email stated, “Your monthly statement is now available. Please

log in to your account at SallieMae.com to view and pay your bill.”

        80.     As a result, between July 2011 and March 2015, the percentage of borrowers who

did not timely renew their enrollment in income-driven repayment plans regularly exceeded 60%

– a fact well known to Navient’s management who has tracked the number of borrowers who

clicked on the hyperlink to view the electronic renewal documents.

        E.      Navient Failed to Provide Borrowers with Accurate Information Relating to
                Cosigner Release Requirements

        81.     During the Relevant Period, Navient encouraged borrowers to enlist persons to

cosign their loans in order to obtain private student loans or to obtain a loan with more favorable

terms, including a lower interest rate. Navient touted the availability of a “cosigner release,”

which allowed cosigners to be released from loan obligations upon the fulfillment of certain

criteria.




                                                27
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 32 of 68



       82.     Prior to January 21, 2014, Navient required borrowers to make a minimum of 12

or 48 “consecutive, on-time principal and interest payments” before being able to apply for a

cosigner release.     Since January 21, 2014, Navient has required 12 “consecutive, on-time

principal and interest payments.” However, Navient construed “consecutive” and “on-time”

payments to impose undisclosed hurdles on borrowers and to make cosigner release less

attainable.

       83.     Until at least mid-2015, Navient treated a borrower making no payment on a $0

bill as a failure to make a “consecutive, on-time payment” in that month for purposes of

determining eligibility for cosigner release. As a result, Navient reset the borrower’s progress

toward “consecutive, on-time principal and interest payments” to zero months, despite the fact

that the borrower did not owe any money to Navient, and so, was not obligated to make any

payment. Navient thus illicitly delayed cosigner release by at least a year for any month in

which a borrower had a $0 bill. Borrowers who prepaid several months ahead would also be

found to not have made consecutive payments for the following months in which they owed no

balance to Navient.

       84.     Similarly, Navient did not disclose that making no payment in response to a $0

bill could impact a cosigner’s eligibility for release from student loan obligations. Navient’s

website, and other consumer-facing documents, also failed to advise borrowers and cosigners of

this fact.    Accordingly, Navient mislead borrowers by stating that they must make 12

“consecutive, on-time” payments before applying for cosigner release.

       F.      Pioneer Misinformed Borrowers Regarding the Effects of the Federal Loan
               Rehabilitation Program and Failed to Implement Controls to Correct Those
               Misrepresentations

       85.     The federal loan rehabilitation program allows federal student loan borrowers,

who have defaulted on their loans, to restore those student loans to active repayment and remove

                                              28
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 33 of 68



the default notation from their credit histories. Once a borrower completes the rehabilitation

program and has the default cured, the owner of the loan removes the default indication from the

borrower’s credit report, while the late payments and delinquencies associated with the default

remain in place. The adverse information reported by the original lender is only expunged or

excluded from credit reports after a seven-year period following the lender’s report of that

default, regardless of whether the loan was rehabilitated. Accordingly, the DOE instructs its debt

collectors, such as Pioneer, not to state or imply to borrowers that completion of the loan

rehabilitation program (after having defaulted on their loans) will have the effect of removing

adverse default information from the borrower’s credit history.

       86.     From at least January 2012 through December 2014, Pioneer readily advised

borrowers that ALL negative information – including pre-default delinquencies – would be

removed from the borrowers’ credit reports after rehabilitation. As evidenced by the scripts

utilized by Pioneer’s customer service representatives, as well as Pioneer training guides, Pioneer

customer representatives routinely misrepresented the effects of completing the federal

rehabilitation program on their credit scores and history:

       You have qualified for a rehabilitation program. What you will need to do is make
       a minimum of 9 qualifying monthly payments. After all payments are made, a
       new lender will pay off the Department of Education for you. You will then in
       turn owe the new lender, which means that you will no longer be in Federal
       Default. All of the collection fees will be removed at the time of the sale. Also it
       will be completely deleted from your credit report as though it never happened.

[Emphasis added.]

       87.     In addition to misinforming customers about the loan rehabilitation program’s

effect on delinquency information, Pioneer routinely misrepresented in calls with borrowers that

all collection fees assessed by the DOE on defaulted loans would be forgiven. In fact, about

20% of each rehabilitation payment would be used to pay off the delinquency fees, and only after


                                                29
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 34 of 68



the ninth rehabilitation payment would default be considered cured and any remaining collection

fees be waived by the DOE. Accordingly, by the time borrowers complete the rehabilitation

program, they would have paid down a significant portion of their collection fees.

       88.     On February 27, 2015, the DOE announced its intention to end its contract with

Pioneer and certain other collectors, in part, as a result of an external audit, which included a

review of a sample of calls indicating that Pioneer misled consumers concerning the amount of

collection fees that would be forgiven for borrowers who completed the rehabilitation program.

       G.      Navient Repeatedly Committed Payment Processing Errors and Failed to
               Implement Internal Controls to Prevent their Reoccurrence

       89.     Navient repeatedly misallocated or misapplied loan payments made by borrowers

and cosigners, who paid by mailing a check or through an external bill payment system, in

violation of federal and state law.

       90.     Since at least July 2011, many borrowers and cosigners have complained of

payment processing errors relating to how payments are applied to a specific loan or loans based

on the terms of each loan’s promissory note or borrowers’ and cosigners’ instructions. In some

instances, Navient has misallocated payments intended and/or designated for a specific loan(s)

among all of a borrower’s loans. For example, Navient applied a lump sum payment to all of the

borrower’s loans, leaving loans that the borrower intended to satisfy unpaid. In other cases,

Navient disregarded borrowers’ and cosigners’ instruction regarding the allocation of payments

to specific loans, thereby incorrectly applying cosigners’ payments to loans they did not cosign

and did not intend to contribute to.

       91.     The payment processing errors resulted from an undisclosed payment allocation

methodology used by Navient that places borrowers’ loans in one or more billing groups and

uses a default allocation whenever borrowers’ payment amount varies from the exact amount


                                               30
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 35 of 68



owed. The default methodology also varied based on the type of loan and the amount of

payment submitted by the borrower. None of this variation in default allocation methodology

was disclosed on any billing statements, promissory notes, or printed or online customer-facing

documents.

       92.     Because Navient did not make its payment processing methodology public until

late 2013, Navient’s borrowers had no way of knowing how their payments would be allocated.

       93.     Borrowers and cosigners who submitted checks along with written instructions

regarding how their payment should be processed did not fare any better, as Navient’s mail

reading equipment did not properly detect instructions, and so, Navient routinely ignored its

customers’ payment processing instructions by default.

       94.     As a result of the errors made in the course of payment processing: (1) borrowers

and cosigners incurred improper late fees and increased interest charges; and (2) inaccurate

information was submitted to consumer reporting agencies.

       H.      Navient Misreported the Status of Military Accounts

       95.     The DOE allows borrowers who have a total and permanent disability to have

their federal loans discharged, relieving them of any obligation to pay their loans. These include

federal loans held by veterans who the U.S. Department of Veterans Affairs has determined are

unemployable because they are totally and permanently disabled.

       96.     According to the 2006 DOE Guidance regarding appropriate credit reporting,

when a non-defaulted loan is discharged due to the total and permanent disability of the

borrower, servicers should only use the reporting code “05.” 20       The 2006 DOE Guidance


20
       The “2006 DOE Guidance” refers to the “New Credit Bureau Reporting for Assignments
for Conditional Disability Discharge – Chart.” Fed. Student Aid, Office of the U.S. Dep’t of
Educ., IFAP Electronic Announcements, IFAP.ED.GOV (July 5, 2006), https://ifap.ed.gov/
eannouncements/0705CDDCreditBureau.html.

                                               31
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 36 of 68



instructs to use code “AL” to indicate that a loan has been permanently assigned to the

government and is to be used only: (1) by schools holding Perkins loans and not by servicers;

and (2) only when the loan is in default status prior to being discharged due to the disability of

the borrower. Id. The same instructions, regarding the use of “AL” code, were published by the

Consumer Data Industry Association in 2012.

       97.     From October 2012 until approximately June 2014, Navient used the “AL” code

to report a loan that had been discharged due to a borrower’s total and permanent disability, in

contravention of the federal government’s clear instruction. As such, Navient’s furnishing of

information regarding these loans was inaccurate and created the impression that the borrower

defaulted on his/her loan prior to the loan being discharged, when, in fact, no such default

occurred, thereby incorrectly negatively impacting the borrowers’ credit score and credit

worthiness.

       98.     At all times, Navient was aware of the harmful effects of furnishing inaccurate

information to credit reporting agencies. As Navient’s website provides, “Defaulting on []

federal or private loans may result in serious consequences that might lead to a long lasting and

harmful impact to [] the borrower or cosigner.”

VI.    NAVIENT SYSTEMATICALLY MAINTAINED DECEPTIVE AND ABUSIVE
       PRACTICES IN KNOWING VIOLATION OF FEDERAL LAW

       A.      Navient Failed to Comply with the Law

       99.     As a result of the Defendants’ misconduct, Navient failed to comply with basic

regulatory requirements imposed on federal loan servicers, engaging in an unlawful, deceptive

scheme to systematically favor forbearance, eschew IDRs, and misinform borrowers regarding

basic aspects of their loans. The Individual Defendants violated their fiduciary duties to the




                                                  32
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 37 of 68



Company in knowingly allowing Navient to violate positive law and other obligations Navient

incurred in servicing and collecting on student loans.

        B.      As a Result of Defendants’ Breach of Their Fiduciary Duties, the Company
                Is Sued by the CFPB, ILAG, and WAAG

        100.    The Company was sued by the CFPB, ILAG, and WAAG on January 18, 2017,

captioned CFPB v. Navient Corp., No. 3:17-cv-00101 (M.D. Pa.); People of the State of Ill. v.

Navient Corp., No. 17 CH 00761 (Ill. Cir. Ct., Cook Cty.); Washington v. Navient Corp., No. 17-

2-01115-1 (Wash. Sup. Ct., King Cty.), respectively. The CFPB published a press release on the

same day that it filed its complaint that reads, in part:

        Navient, Formerly Part of Sallie Mae, Illegally Cheated Borrowers Out of
        Repayment Rights Through Shortcuts and Deception

                                                * * *

        Washington, D.C. – Today the Consumer Financial Protection Bureau (CFPB) is
        suing the nation’s largest servicer of both federal and private student loans for
        systematically and illegally failing borrowers at every stage of repayment. For
        years, Navient, formerly part of Sallie Mae, created obstacles to repayment by
        providing bad information, processing payments incorrectly, and failing to act
        when borrowers complained. Through shortcuts and deception, the company also
        illegally cheated many struggling borrowers out of their rights to lower
        repayments, which caused them to pay much more than they had to for their
        loans. The Bureau seeks to recover significant relief for the borrowers harmed by
        these illegal servicing failures.

        “For years, Navient failed consumers who counted on the company to help give
        them a fair chance to pay back their student loans,” said CFPB Director Richard
        Cordray. “At every stage of repayment, Navient chose to shortcut and deceive
        consumers to save on operating costs. Too many borrowers paid more for their
        loans because Navient illegally cheated them and today’s action seeks to hold
        them accountable.”

                                                 ***

        In today’s action, the Bureau alleges that Navient has failed to provide the most
        basic functions of adequate student loan servicing at every stage of repayment for
        both private and federal loans. Navient provided bad information in writing and
        over the phone, processed payments incorrectly, and failed to act when borrowers
        complained about problems. Critically, it systematically made it harder for


                                                  33
           Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 38 of 68



       borrowers to obtain the important right to pay according to what they can afford.
       These illegal practices made paying back student loans more difficult and costly
       for certain borrowers. 21

       101.    The CFPB’s January 18, 2017 complaint (“CFPB Complaint”) brought claims

against the Company for “fail[ing] to perform its core duties in the servicing of student loans,

violating Federal consumer financial laws as well as the trust that borrowers placed in the

company[,]” the same misconduct it had identified and communicated to the Company by July

31, 2014. CFPB Complaint ¶4. The CFPB’s core claims were that the Company:

       •      “systematically deterred numerous borrowers from obtaining access to some
              or all of the benefits of [IDR plans] and protections associated with these
              plans” (id.);

       •      falsely assured “borrowers that it would help them find the right repayment
              option for their circumstances,” before improperly steering the borrower
              into long-term forbearance (id.);

       •      “failed to disclose the annual deadlines to renew [IDR] plans,
              misrepresented the consequences of non-renewal, and obscured [] renewal
              notice to borrowers” (id. ¶5);

       •      misrepresented “information to consumer reporting agencies about
              thousands of borrowers who were totally and permanently disabled,
              including veterans whose total and permanent disability was connected to
              their military service, by making it appear as if those borrowers had
              defaulted on their student loans when they had not” (id. ¶7);

       •      misrepresented “requirements for borrowers to release their cosigner from
              their private student loan, thereby denying or delaying” the ability of a
              cosigner to be relieved of responsibility even when a borrower “meets
              certain eligibility criteria” (id.);

       •      repeatedly committed “the same errors in processing federal and private
              student loan borrowers’ payments month after month, even after borrowers
              complained to Navient about those errors” (id.); and



21
       Press Release, CFPB, CFPB Sues Nation’s Largest Student Loan Company Navient for
Failing Borrowers at Every Stage of Repayment (Jan. 18, 2017), https://www.consumer
finance.gov/about-us/newsroom/cfpb-sues-nations-largest-student-loan-company-navient-failing
-borrowers-every-stage-repayment/.

                                               34
           Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 39 of 68



       •      through its Pioneer subsidiary, “systematically misled consumers about the
              effect of [loan] rehabilitation on the consumer’s credit report and
              overpromised the amount of collection fees that would be forgiven by
              enrolling in the program.” Id. ¶12.

       102.    The CFPB Complaint brought the claims under the CFPA, 12 U.S.C. §5531,

5536(a), 5564, 5565; FCRA, 15 U.S.C. §1681, et seq., and its implementing regulation,

Regulation V, 12 C.F.R. part 1022; and FDCPA, 15 U.S.C. §1692, et seq. Id. ¶1.

       103.    The 11-count CFPB Complaint requested substantial relief, including a permanent

injunction against Navient enjoining the Company from committing future violations of the

CFPA, FCRA, Regulation V, the FDCPA, or any other provision of federal consumer financial

law, as defined by 12 U.S.C. §5481(14); restitution to borrowers harmed by Navient’s unlawful

conduct; injunctive relief regarding Navient’s practices; disgorgement of ill-gotten revenues; the

imposition of civil money penalties; the rescission or reformation of contracts where necessary to

redress injury; and costs incurred by the CFPB to proceed with the action. Id. ¶¶138-97.

       104.    Navient responded to the CFPB Complaint immediately by denying all

allegations, making no efforts to fix non-compliant and misleading behaviors, and instead called

the claims “unsubstantiated” and “unjustified.” Instead of taking responsibility for its actions

and attempting to reform the Company’s internal control failures and illegal conduct, Navient

issued a press release on January 18, 2017, stating that:

       The allegations of the Consumer Financial Protection Bureau are unfounded, and
       the timing of this lawsuit—midnight action filed on the eve of a new
       administration—reflects their political motivations.

                                               ***

       Navient has a responsibility to its customers, shareholders, and employees to
       defend itself—publicly and in court—against this unsubstantiated, unjustified and
       politically driven action. We cannot and will not accept agenda-driven ultimatums
       designed to get headlines rather than help for student borrowers. We will




                                                 35
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 40 of 68



       vigorously defend against these false allegations and continue to help our
       customers achieve financial success. 22

       105.    On August 4, 2017, the Honorable Judge Mariani of the Eastern District of

Pennsylvania ruled on a motion to dismiss the CFPB Complaint. The court sustained all 11

counts of the CFPB Complaint.

       106.    Substantively similar claims are currently being prosecuted by the ILAG, WAAG

and PAAG for violations of federal and state consumer fraud statutes.

       107.    In addition to the repeated notices and discussions the Company had with the

CFPB, at all relevant times, Navient Board members were either aware that Navient had engaged

in a broad array of loan-servicing practices that were non-compliant with state and federal law

and regulation or that the Company’s internal controls were so deficient that Navient could not

identify whether its practices were compliant.

VII.   SECURITIES CLASS ACTION LAWSUITS ARE FILED AGAINST THE
       COMPANY, EXPOSING IT TO FURTHER HARM

       A.      Defendants’ Misconduct Has Exposed the Company to a Series of Lawsuits
               that Injured Its Reputation and Financial Health

       108.    After the Company’s conduct became clear through the filing of the CFPB

Complaint, class action lawsuits alleging violations of the federal securities laws relating to the

Company’s disclosures in its public filings were filed in the U.S. District Court for the Districts

of Delaware and New Jersey. These cases were each consolidated into one action in their

respective districts, captioned Lord Abbett Affiliated Fund, Inc. v. Navient Corp., No. 1:16-cv-

00112 (D. Del.) and In re Navient Corp. Sec. Litig., No. 1:17-cv-08373 (D.N.J.) (collectively, the

“Securities Litigation”). Plaintiffs in the Securities Litigation asserted claims under §§10(b) and

20(a) for false and misleading statements made by the Company and certain executives,


22
       Navient Corp., Exhibit 99.1 to Current Report (Form 8-K) (Jan. 18, 2017).

                                                 36
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 41 of 68



including Defendant Remondi.        The allegations centered on statements included in the

Company’s disclosures that vouched for Navient’s supposed commitment to compliance and

customer support.    Specifically, the plaintiffs in the Securities Litigation claim that such

statements were false and misleading because of the practices identified in the CFPB Complaint,

and because the Company had engaged in deceptive practices to facilitate the origination of

subprime loans.

       109.   Thus, as a direct and proximate result of the Individual Defendants’ actions,

Navient has expended, and will continue to expend, significant sums of money, including: (i) the

costs incurred from defending, settling, or paying an adverse judgment in the Securities

Litigation, CFPB Complaint, and State AGs actions; (ii) costs incurred from implementing any

corrective and/or remedial measures ordered by state and federal authorities or agreed to by

virtue of a settlement or a compromise; (iii) costs incurred from defending, settling, or paying

any adverse judgment from any other legal actions pertaining to the Company’s practices

relating to Navient’s unlawful business practices; and (iv) costs incurred from compensation and

benefits paid to the Individual Defendants who have breached their duties to Navient.

       110.   Finally, Navient’s business, goodwill, and reputation have been, and will continue

to be, severely damaged by the Individual Defendants’ decision to allow and/or failure to prevent

the Company’s systemic violation of state and federal laws.

       B.     The Securities Litigation Alleges that Navient Misled Stockholders
              Regarding Its: (i) Forbearance Practices, the Credit Quality of Its Loan
              Portfolio, and Its Financial Results; (ii) Compliance with Legal and
              Regulatory Requirements; and (iii) Liquidity and Financing Arrangements

              1.      Navient’s Management          Misled     Stockholders    Regarding      Its
                      Forbearance Practices

       111.   The Company continued to assure the public of its careful tailoring of forbearance

solutions to is borrowers. For example, Navient’s 2017 Proxy Statement highlighted Navient’s

                                               37
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 42 of 68



commitment to counseling borrowers regarding the appropriate repayment plans, stating, in

relevant part:

       At Navient, we use our experience and expertise to assist our customers
       navigating the complex federal student loan program by helping them understand
       their many options so they can choose the solution that best fits their needs. The
       results are outstanding.

                                               * * *

       We deliver this industry-leading performance by using our expertise and
       sophisticated data analytics to better identify customers who need extra support,
       reach out in ways that result in higher rates of contact, and present repayment
       options they can select to fit their budget.

[Emphasis added.]

       Navient’s 2015 Proxy Statement made substantially the same representations. Similarly,

in the April 2014 “Information Statement” issued in connection with the Spin-Off, Navient

stated: (1) “[f]orbearance as a collection tool is used most effectively when applied based on a

customer’s unique situation, including historical information and judgments”; (2) “[o]ur

forbearance policies include limits on the number of forbearance months granted consecutively

and the total number of forbearance months granted over the life of the loan”; and (3) “we

continue to see improvement in credit quality and continuing positive delinquency, forbearance

and charge-off trends in connection with th[e] [Private Education Loan (“PEL”)] portfolio.”23

Substantially similar representations appear in Navient’s Form 10-Qs for Q1 2014, Q2 2014, Q3

2014, and the first quarter of 2015 (“Q1 2015”). 24

       112.      Additionally, Navient’s 2014 Form 10-K stated in relevant part:

23
      Navient Corp., Exhibit 99.1 to Amended Registration Statement at 80, 99 (Form 10-
12B/A) (Apr. 10, 2014).
24
        See Navient Corp., Quarterly Report at 68, 80 (Form 10-Q) (May 9, 2014); Navient
Corp., Quarterly Report at 68, 89 (Form 10-Q) (Aug. 1, 2014); Navient Corp., Quarterly Report
at 67, 86 (Form 10-Q) (Oct. 30, 2014); Navient Corp., Quarterly Report at 56, 74 (Form 10-Q)
(Apr. 30, 2015).

                                                 38
           Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 43 of 68



          Navient believes the credit risk of the Private Education Loans it owns is well
          managed through the rigorous underwriting practices and risk-based pricing
          utilized when the loans were originated, the continued high levels of qualified
          cosigners and our internal servicing and risk mitigation practices, as well as our
          careful use of forbearance and our loan modification programs. 25

Navient’s management made numerous statements touting the high quality of Navient’s loan

portfolio, and relatedly, the low level of delinquencies by borrowers and charge-offs. For

example, in an April 16, 2014 press release announcing the Q1 2014 financial results for Sallie

Mae, Defendant Remondi stated, ‘“We’re . . . pleased that this quarter set a six year-record low

in delinquencies, reflecting our strong underwriting and customer support.’” 26 The following

day, Navient reiterated those sentiments in an “Investor Roadshow” presentation, which (1)

emphasized Navient’s “[l]arge, high quality asset base,” including its “[s]easoned portfolio” of

Private Education loans”; and (2) highlighted, in a section titled “Leveraging Core Strengths to

Drive Growth,” “Default Prevention and Asset Recovery,” specifying “[d]elinquency and

charge-offs significantly below national average” and “[i]ndustry leading asset recovery and

private credit loss mitigation capabilities.” 27

          113.   Defendants made substantially similar statements regarding loan-credit quality for

the remainder of 2014. See, e.g., (1) Q2 2014 earnings press release (reporting “continued

improvement in student loan portfolio credit quality with 90-plus day delinquencies on its federal

and private loan portfolio declining to the lowest levels since 2008”); 28 (2) 2014 Q2 Form 10-Q

(noting provisions for PEL losses “declined $36 million primarily as a result of the overall

improvement in Private Education Loans’ credit quality, delinquency and charge-off trends

25
          Navient Corp., Annual Report at 6 (Form 10-K) (Feb. 27, 2015) (“2014 Form 10-K”).
26
          Navient Corp., Exhibit 99.1 to Current Report at 1 (Form 8-K) (Apr. 16, 2014) [emphasis
added].
27
          Navient Corp., Exhibit 99.1 to Current Report at 8-9, 16 (Form 8-K) (Apr. 17, 2014).
28
          Navient Corp., Exhibit 99.1 to Current Report at 1 (Form 8-K) (July 16, 2014).

                                                   39
        Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 44 of 68



leading to decreases in expected future charge-offs”); 29 (3) Q3 2014 earnings press release

(stating financial results “show[ed] continued improvements in delinquencies and defaults since

a year ago” and improved performance of Navient’s Private Education Loan portfolio, claiming

that “Charge-Off Rates on Private Education Loan Portfolio Improve[d] to Lowest Levels Since

2008”); 30 (4) Q4 & FY 2014 press release (stating “2014 Charge-Off Rates on Private Education

Loan Portfolio Improve[d] to Lowest Levels Since 2008”). 31

       114.   Defendants also touted Navient’s relatively low loan loss provisions for PELs,

which according to Navient’s quarterly reports for each quarter in 2014 and 2015, and its annual

reports for the same years, decreased as compared with the corresponding prior time periods.

The reported loss provisions for PELs were understated because they failed to account for

Navient’s systemic use of forbearance, which prevented accounts from becoming delinquent,

defaulting. and consequently being charged off. The 2017 Proxy Statement confirms that the

annual and quarterly reports were “review[ed] and discuss[ed]” by the Audit Committee

members prior to being filed with the SEC. See 2017 Proxy Statement at 35.

              2.      Navient’s Management Misled Stockholders Regarding Navient’s
                      Compliance with State and Federal Laws and Regulations

       115.   Navient’s management also falsely assured stockholders that it fully complied

with the applicable legal and regulatory requirements. For example, in the April 17, 2014

“Investor Roadshow” presentation, Navient emphasized its “[r]obust compliance driven culture

driven by a ‘customer first’ approach,” its “[d]emonstrated compliance infrastructure,” and

“[o]perational and technical expertise and capacity to adapt to [a] new regulatory environment”

and represented that the Company “[d]emonstrated FFELP compliance and preserved federal

29
       Q2 2014 Form 10-Q at 52.
30
       Navient Corp., Exhibit 99.1 to Current Report at 1 (Form 8-K) (Oct. 15, 2014).
31
       Navient Corp., Exhibit 99.1 to Current Report at 1 (Form 8-K) (Jan. 21, 2015).

                                              40
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 45 of 68



loan guarantee.” 32 Defendants reiterated those sentiments repeatedly, including emphasizing (in

the 2014 Form 10-K) Navient’s “rigorous training programs, internal and external auditing,

escalated service tracking and analysis, and customer research to enhance [its] compliance

and customer service.” 33 Defendants’ representations included Defendant Kane’s statements on

Navient’s behalf at the February 11, 2015 Credit Suisse Forum, emphasizing the “very, very

strong compliance culture at Navient across the entire Company, across all levels of

management” and adding: “[s]o we take that very seriously. We keep our thumb obviously on

the changing compliance landscape and we look to make updates to our processes, procedures

and work activities to comply.”

       116.    Similarly, Navient’s 2016 and 2017 Proxy Statements also vouched for the

sufficiency of Navient’s compliance controls, stating, in relevant part: “Our clients benefit from

the higher performance, lower cost, and strong compliance controls we deliver every day.”

[Emphasis added.]

       117.    Defendants also specifically addressed Navient’s purported efforts to inform

borrowers about IDRs: “We have been a partner in [the DOE]’s campaign to inform federal

student loan customers about income-driven repayment plans, and have played a leadership role

in helping customers understand their options and make an informed choice.” 34

               3.     Navient’s Management Misled Stockholders About Its Liquidity and
                      Financing Arrangements

       118.    Navient’s SEC filings consistently discussed the amounts of capacity available

under its credit facilities. E.g., Q1 2014 Form 10-Q at 86 (“As of March 31, 2014 and December


32
      Navient Corp., Exhibit 99.1 to Current Report at 12, 16 (Form 8-K) (Apr. 17, 2014)
[emphasis added].
33
       2014 Form 10-K at 4 [emphasis added]
34
       2014 Form 10-K at 4.

                                               41
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 46 of 68



31, 2013, the maximum additional capacity under these facilities was $12.7 billion and $10.6

billion, respectively. For the three months ended March 31, 2014 and 2013, the average

maximum additional capacity under these facilities was $12.3 billion and $10.8 billion,

respectively.”). Additionally, Navient stated in its 2014 Form 10-K:

       We have various secured borrowing facilities that we use to finance our FFELP
       Loans. Liquidity is available under these secured credit facilities to the extent we
       have eligible collateral and available capacity. The maximum borrowing capacity
       under these facilities will vary and is subject to each agreement’s borrowing
       conditions. These include but are not limited to the facility’s size, current usage
       and the availability and fair value of qualifying unencumbered FFELP Loan
       collateral. . . . The facilities are subject to termination under certain
       circumstances. 35

       119.    Those statements were false or misleading when made because, despite reporting

the available capacity on the facilities and acknowledging they were “subject to termination

under certain circumstances,” Navient failed to disclose the true likelihood that the Federal

Home Loan Bank of Des Moines (“FHLB-DM”) would, in fact, terminate the facilities in light of

a rule proposed by the Federal Housing Finance Agency in September 2014 (which was

ultimately adopted as a final rule in January 2016), preventing non-eligible entities from gaining

membership with the FHLB-DM – and thus access credit on extraordinarily favorable terms –

through the use of a captive insurer. Defendants accordingly misled stockholders regarding the

risk that Navient’s borrowing costs would suddenly and dramatically rise, and thereby affect the

Company’s liquidity and financial performance.

       120.    The statements referenced above in ¶¶111-19 were materially false and

misleading when made because, at the time they were made, Defendants were knowingly (or

recklessly), violating consumer protection and deceptive practices rules and regulations by:

engaging in a widespread and systemic practice of steering borrowers experiencing long-term


35
       2014 Form 10-K at F-45.

                                               42
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 47 of 68



financial hardship into forbearance, instead of instituting measures required to properly

implement and enroll borrowers in IDR plans; failing to adequately advise critical notices to

borrowers regarding renewal of IDR enrollment and cosigner release; regularly committing

payment processing errors misallocating payments; and continuing to tout the credit quality of

the Company’s loan portfolio, financial results, compliance with regulatory requirements, and

liquidity and financing arrangements in the face of these known issues.            The foregoing

statements assuring Navient stockholders of the high quality of Navient’s loan portfolio, and

relatedly, the low level of delinquencies by borrowers and charge-offs; of its full compliance

with the applicable legal and regulatory requirements; and that Navient’s borrowing capacity,

liquidity, and financial performance would remain at the levels it disclosed; failed to mention

any of the key material deficiencies identified herein, and were therefore all materially false and

misleading when made.

       C.      Additional Misleading Statements in Navient’s Proxy Statements

       121.    In addition to the misstatements identified in the Securities Litigation, Navient’s

2017 Proxy Statement made a number of false and misleading representations regarding

Navient’s process of nominating Board members and the objectives and goals driving director

compensation. To begin with, the 2015, 2016, and 2017 Proxy Statements each listed the

“minimum qualifications” of Board members, including, among other things, “[i]ntegrity and

sound judgment in areas relevant to the business[]” and “[a]bility to challenge and stimulate

management[.]” 36 Ironically, the 2017 Proxy Statement also listed “[w]illingness to represent




36
      2015 Proxy Statement at 28; 2016 Proxy Statement at 29; 2017 Proxy Statement at 26
[emphasis added].

                                                43
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 48 of 68



the best interests of all shareholders and objectively apprise management performance[]” as an

additional minimum qualification. 37

       122.    Furthermore, in seeking the advisory vote on executive compensation, the Board

misleadingly stated that the “Company’s 2016 executive compensation program strongly aligns

pay to actual performance” and that its incentive plan “is designed to drive the type of

performance we saw in 2016 by focusing on key performance metrics that align with our

business objectives . . . include[ing] . . . (iii) private education loan defaults.” Id. at 40, 42-43.

In addition, the Proxy Statement(s) assured stockholders that Navient’s named executive

officers’ (“NEOs”) compensation package is “tied to performance and aligned with the interests

of our shareholders[,]” stating, in relevant part:

           •   Pay for Performance. A substantial portion of the total compensation paid
               to our NEOs is earned based on achievement of enterprise-wide goals that
               impact shareholder value.

           •   Align Compensation with Shareholder Interests. A significant portion of
               the total direct compensation provided to our NEOs is delivered in the
               form of equity awards, while other components of compensation are
               contingent on specific performance goals designed to drive shareholder
               value. For 2016, 86% of the total direct compensation provided to our
               CEO for 2016 was at-risk, including incentive awards that are dependent
               upon the attainment of specific performance objectives, the value of
               Navient’s Common Stock or both.

           •   Reward Annual Performance. The annual incentive award component of
               our NEOs’ total compensation is designed to reward achievement of key
               annual goals that are aligned with the Company’s annual business plan,
               and conversely to be lower or zero in periods in which those key annual
               goals are only partially achieved or not achieved at all.

           •   Reward Long-term Growth. The total compensation paid to our NEOs is
               heavily weighted toward long-term equity-based incentives. These awards
               link pay to sustained performance and shareholder value creation.




37
       2017 Proxy Statement at 26 [emphasis added].

                                                     44
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 49 of 68



            •   Retention of Top Executives. Our NEOs have base salaries and benefits
                that are competitive, which permit Navient to attract, motivate and retain
                executives who can drive and lead its success. 38

       123.     Thus, stockholders who have casted their vote to elect the Individual Defendants

into their roles as Board members have done so under the assumption that the minimum

qualifications, as set forth in the Company’s Proxy Statements, have been satisfied prior to

accepting the Board members’ candidacy. Furthermore, stockholders who have casted their

votes to approve executive compensation have done so presuming that the proposed

compensation was consistent with, and would advance, Navient’s compensation philosophy and

objectives, as set forth in the Company’s Proxy Statements. Put differently, stockholders would

assume that executive compensation was substantially provided based on managements’

performance for the benefit, and in the interest, of the Company. Instead, however, the executive

compensation was provided to management despite that Navient was subject of an intensive

regulatory scrutiny by the CFPB, New York State Department of Financial Services, ILAG, and

WAAG and was, at the time of the stockholder vote, named as a defendant in at least three

enforcement actions and three securities class actions – all setting forth substantially the same

allegations concerning Navient’s deceptive and unfair forbearance practices and its

misinformation of borrowers regarding various aspects of loan servicing in direct violation of the

state and federal law and regulations.

       D.       The Truth Begins to Emerge About Navient’s Forbearance Practices, Its
                Non-Compliance with Legal and Regulatory Requirements, and Its Liquidity
                and Financial Arrangements

       124.     On July 13, 2015, Navient suddenly announced it would need to increase its

provision for loans in the private loan segment by $46 million, or 31.7%. Defendants revealed


38
       Id. at 43; see also 2015 Proxy Statement at 47; 2016 Proxy Statement at 47.

                                                45
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 50 of 68



that a group of borrowers (i.e., “cohort”) who had returned to school during the “Great

Recession” of 2007-2008, and who represented $2.5 billion in loans, had demonstrated difficulty

repaying their loans. That disclosure was followed by Defendant Remondi’s revelation, during a

July 22, 2015 earnings call, that those borrowers “were struggling to begin with,” i.e., even

before they went back to school. And on September 29, 2015, the CFPB issued a report

detailing, among other widespread problems in the loan-servicing industry, that loan servicers

were placing borrowers into forbearance in lieu of alternative repayment plans. Through these

disclosures, the stockholders first learned of Navient’s forbearance practices, its overstated loan

loss provisions for private loans, and the credit quality of its loans. Indeed, the market responded

strongly, with the price of Navient common shares dropping by 10.6%, 2.2%, and 4.4% on July

13, July 22, and September 29, 2015, respectively.

       125.    Additionally, a series of disclosures throughout 2015 gradually revealed to

stockholders that Navient was non-compliant with the applicable state and federal legal and

regulatory requirements, but instead, was engaged in a series of unfair and deceptive practices,

including misleading borrowers about the availability of IDRs and failing to provide borrowers

with adequate information regarding cosigner release, renewal/recertification requirements, and

the effects of completing a credit rehabilitation program.

       126.    On February 27, 2015, the DOE announced its intention to end its contract with

Pioneer and four other collectors, after an audit revealed that they misinformed borrowers about

“the benefits to the borrowers’ credit report and about the waiver of certain collection fees[]” in

connection with the credit rehabilitation program. 39 An article published a few days later by



39
       Press Release, U.S. Dep’t of Educ., US. Department of Education to End Contracts with
Several Private Collection Agencies (Fed. 27, 2015), https://www.ed.gov/news/press-releases/us-
department-education-end-contracts-severalprivate-collection-agencies.

                                                46
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 51 of 68



Inside Higher Ed referred to a “Crackdown on Navient[,]” noting that the Company had “earned

$65 million in revenue under the debt collection contract [with DOE] in 2014 and $62 million in

2013[,]” and that as a result of the contract termination, the Company would lose “about 400

jobs.” 40 Following these disclosures, the price of Navient securities fell sharply, declining 8.8%

from its close of $21.40, on February 27, 2015, to close at $19.51m on March 2, 2015, on

unusually heavy trading volume of more than 10 million shares.

       127.    On April 24, 2015, The Huffington Post reported on the mounting government

investigations of Navient, including a previously undisclosed investigation of Pioneer by

Massachusetts authorities in connection with “allegations [that] the company mistreated

distressed borrowers[.]” 41 On this news, Navient’s common shares fell 2.1%.

       128.    On July 7, 2015, the CFPB published a report disclosing that it had continued to

receive complaints about student loan servicing from servicemembers after a 2014 settlement

between federal regulators and Navient and Sallie Mae. 42 The CFPB stated that since its October

2012 report on complaints received by military borrowers, which ultimately resulted in a $60

million settlement with Navient and Sallie Mae, “the [CFPB] has received more than 1,300

complaints from military borrowers related to the servicing or collection of student loans.” Id.

at 4. On this news, the price of Navient stock dropped 2.1%.



40
        Michael Stratford, Feds Fire 5 Debt Collectors, INSIDE HIGHER ED (Mar. 2, 2015),
https://www.insidehighered.com/news/2015/03/02/us-ends-contract-5-debt-collectors-citing-mis
representations-borrowers.
41
       Shahien Nasiripour, Student Loan Giant Navient Bemoans Cost Of Mounting
Government Probes, THE HUFFINGTON POST (Apr. 24, 2015, 7:31 AM ET), https://www.
huffingtonpost.com/2015/04/24/navient-governmentinvestigations_n_7131914.html.
42
        Hollister Petraeus and Seth Frotman, Overseas & Underserved: Student Loan Servicing
and the Cost to Our Men and Women in Uniform, CONSUMERFINANCE.GOV (July 2015), https://
files.consumerfinance.gov/f/201507_cfpb_overseas-underserved-student-loan-servicing-and-the-
cost-to-our-men-and-women-in-uniform.pdf.

                                                47
           Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 52 of 68



       129.     After the market closed on August 24, 2015, Navient disclosed that on August 19,

2015, Navient Solutions, Inc. (“NSI”) received a letter from stating that the CFPB’s Office of

Enforcement was considering taking legal action against NSI regarding its disclosure and

assessment of late fees. 43 Navient nonetheless represented that “NSI continues to believe that its

acts and practices relating to student loans are lawful and meet industry standards and, where

applicable, the statutory or contractual requirements of NSI’s other regulators.” Id. On this

news, the price of Navient common shares dropped 7.8% on unusually heavy trading volume of

more than nine million shares.

       130.     On September 29, 2015, the CFPB issued a report recounting Navient’s

forbearance practices. 44 The report recounted:

       •      Comments from individual student loan borrowers describe how they
              encounter servicing problems or practices that discourage utilization of
              alternative repayment plans, including income-driven repayment plans. A
              number of comments describe how some borrowers may end up in default
              when they are unable to obtain an alternative repayment plan. Comments also
              describe how some servicing practices subsequently can result in payment
              shock, lost benefits, and increased interest charges for borrowers enrolled in
              these plans.

       •      Commenters detail problems related to customer service, including issues for
              borrowers seeking to resolve servicing errors. Commenters describe how
              these problems create barriers for borrowers experiencing financial hardship
              who are seeking to avoid default, and may cause significant credit reporting
              harm.

       •      Commenters describe how payment processing and servicing transfer
              practices create problems for borrowers trying to repay student debt. Public
              comments from individual borrowers describe how those practices cause




43
       Navient Corp., Current Report (Form 8-K) (Aug. 24, 2015).
44
       CFPB, Student loan servicing: Analysis of public input and recommendations for reform,
CONSUMERFINANCE.GOV (Sept. 2015), https://files.consumerfinance.gov/f/201509_cfpb_student-
loan-servicing-report.pdf.

                                                  48
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 53 of 68



              payment processing problems, increase interest charges and late fees, prolong
              repayment, and create confusion for student loan borrowers. 45

       131.     The CFPB report further disclosed that “[s]ervicemembers consistently report

difficulties obtaining the [Servicemembers Civil Relief Act] interest rate cap of six percent[,]”

specifically, “that servicers continue to improperly process these requests and do not clearly

convey information about the application process and other requirements.” Id. at 91-92. The

CFPB also reported that “[s]ervicemembers state that they were guided into military deferments

or forbearance and were not told that their total loan debt would balloon at the end of their

military service due to accrued interest.”       Id. at 92.   Indeed, the CFPB recounted that

“[s]ervicemembers also note that the servicers guide them into forbearance or deferment, even

when the borrower is actively seeking information and assistance concerning other forms of

repayment.” Id. at 93.

       132.     Notwithstanding the breadth and scope of regulators’ investigative inquiries and

the evidence collected during the course of their years-long investigations, Individual Defendants

continued to assure stockholders that the accusations levied against them lacked merit. For

example, in a joint April 13, 2017 letter, sent as a cover letter to the 2017 Proxy Statement,

Defendants Remondi and Diefenderfer proclaimed: “Let us be perfectly clear: the allegations

made do not correspond with the facts and the exceptional results we deliver for consumers.”

[Emphasis added.]

VIII. DAMAGES TO NAVIENT

       133.     As a result of the Individual Defendants’ knowing misconduct, Navient engaged

in an unlawful and deceptive scheme of regularly steering borrowers into forbearance and

misinforming them regarding a variety of matters, including cosigner release, renewal and/or


45
       Id. at 4.

                                                49
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 54 of 68



recertification requirements, and the benefits of loan rehabilitation program, in order to avoid

costs and enhance its own financial well-being to the detriment of its borrowers. Navient’s

conduct violated the applicable federal and state laws and regulations and operated to the

detriment of the Company and its customers. State and federal governmental enforcement

agencies have the authority to impose severe monetary penalties and other forms of sanctions,

should they find that Navient’s conduct violated the laws with respect to which they have

enforcement powers.

       134.    Further, as a direct and proximate result of the Individual Defendants’ actions,

Navient has expended, and will continue to expend, significant sums of money.               Such

expenditures include, but are not limited to:

               a.    costs incurred from defending, settling, or paying an adverse judgment in
                     the Securities Litigations, the CFPB action, and/or the State AGs actions;

               b.    costs incurred from implementing any corrective and/or remedial measures
                     ordered by state and federal authorities, or agreed to by virtue of a
                     settlement or a compromise;

               c.    costs incurred from defending, settling, or paying any adverse judgment
                     from any other legal actions pertaining to Navient’s practices relating to
                     forbearance enrollment and/or misinforming borrowers regarding other
                     matters; and

               d.    costs incurred from compensation and benefits paid to the Individual
                     Defendants who have breached their duties to Navient.

       135.    Finally, Navient’s business, goodwill, and reputation have been, and will continue

to be, severely damaged by the Individual Defendants’ decision to allow and/or failure to prevent

the Company’s systemic violation of state and federal laws.

IX.    DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       136.    Plaintiff repeats, re-alleges, and incorporates by reference each and every

allegation set forth as though fully set forth herein.



                                                  50
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 55 of 68



       137.    Plaintiff has not made any demand on the Board to institute this action against the

Individual Defendants. Any such demand would be futile and useless because the Board is

incapable of making an independent and disinterested decision to institute and vigorously

prosecute this action.

       138.    First, the Individual Defendants had an obligation to ensure that Navient

complied with the law that they actively shirked. Faced with knowledge that Navient was

engaging in a scheme to illicitly steer borrowers into forbearance and misinforming them

regarding an array of other issues, the Individual Defendants caused, or allowed, the Company to

continue the misconduct. Based on the facts alleged herein, there is a substantial likelihood that

Plaintiff will be able to prove that these individuals breached their fiduciary duties by condoning

the misconduct and failing to take any meaningful action to remedy the resultant harm.

       139.    Second, the Individual Defendants ignored the very responsibilities Navient’s

own Code of Conduct imposed on them. Specifically, the Company committed to conduct its

market activities with “integrity and [a] compliance-focused mindset” and mandated that

“[s]pecific laws and regulations that pertain to all areas of [the Company’s] business must be

followed.” Code of Conduct at 4, 7 [emphasis added]. Indeed, Navient’s Code of Conduct

expressly acknowledged that its customers “depend on the information they receive from

[Navient] and expect it to be accurate.” Id. at 7 [emphasis added]. Most importantly, the Code

of Conduct prohibits Navient’s employees from taking “unfair advantage of another individual

or company through manipulation, concealment, abuse of confidential, proprietary or

privileged information or misrepresentation of material facts.” Id. at 18 [emphasis added].

       140.    Notwithstanding these very clear provisions, there is little doubt that the Board

knowingly deserted its fiduciary duties in failing to take any meaningful action to remedy



                                                51
          Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 56 of 68



Navient’s scheme to generate additional income from its borrowers by committing to clearly

identified illicit servicing and collection practices.

        A.        Demand on Defendant Remondi Is Futile Due to His Position as the
                  Company’s President and Chief Executive Officer

        141.      As alleged herein, Defendant Remondi signed the SOX Certifications attached to

Navient’s various regulatory filings in 2014, 2015, and 2016.

        142.      Notwithstanding Defendant Remondi’s knowledge of the Company’s forbearance

practices and the mounting complaints regarding Navient’s provision of inadequate information

to borrowers regarding a number of other servicing matters, he repeatedly touted the Company’s

compliance with legal and regulatory requirements. For example, in the April 16, 2014 press

release announcing Q1 2014 financial results, Defendant Remondi stated: ‘“We’re . . . pleased

that this quarter set a six year-record low in delinquencies, reflecting our strong underwriting and

customer support.’” 46 Likewise, during the July 22, 2015 earnings call, Defendant Remondi

broke the news to analysts that a large group of borrowers, who caused that Navient had to

increase its provision in the PEL segment, “were struggling to begin with [even before returning

to school].” 47

        143.      Importantly, Defendant Remondi has been named as defendant in In re Navient

Sec. Litig., currently pending in New Jersey federal court. As previously stated herein, plaintiffs

in In re Navient Sec. Litig. are seeking damages related to the misconduct the Company, at the

Board’s direction and on their watch, committed. Thus, Defendant Remondi faces a significant

likelihood of liability and therefore, cannot consider a demand impartially.




46
        Navient Corp., Exhibit 99.1 to Current Report at 1 (Form 8-K) (Apr. 16, 2014).
47
        Navient Corp., Earnings Call Transcript at 12 (July 22, 2015).

                                                   52
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 57 of 68



       144.    Finally, Navient’s own 2017 Proxy Statement discloses that Defendant Remondi

“was determined not to be independent under the [Board’s Governance] Guidelines or the

Nasdaq listing standards.” 2017 Proxy Statement at 21.

       B.      Demand on Defendants Diefenderfer, Adams, Unger, Cabral, Gilleland,
               Thompson, and Williams Is Futile Due to Their Positions on the Audit
               Committee

       145.    Defendants Diefenderfer, Adams, Unger, Cabral, Gilleland, Thompson, and

Williams lack the requisite level of independence necessary to weigh the merits of this litigation,

having served as members of the Audit Committee at all relevant times. Pursuant to the Audit

Charter, Defendants Diefenderfer, Adams, Unger, Cabral, Gilleland, Thompson, and Williams

were required, amongst other things, to “[r]eview the Company’s procedures for the receipt,

retention and handling of complaints regarding accounting, internal accounting controls and

auditing matters, including procedures for the confidential, anonymous submission of complaints

by employees about accounting and auditing matters.” Audit Charter at 5 [emphasis added].

Additionally, it was the responsibility of the Audit Committee members to “[r]eview the

Company’s compliance programs on a periodic basis, including (i) compliance risk

assessment, (ii) compliance plan, and (iii) significant breaches or violations of compliance

policies or the Company’s Code of Business Conduct.” Id. [emphasis added].

       146.    Neither did the allegations in the CFPB action motivate Defendants Diefenderfer,

Adams, Unger, Cabral, Gilleland, Thompson, and Williams to further investigate the Company’s

internal compliance programs, policies, and procedures, not even after the CFPB advised of its

intention to pursue an enforcement action against Navient for an array of service-related issues.

Indeed, Diefenderfer, Adams, Unger, Cabral, Gilleland, Thompson, and Williams did not

implement or recommend the implementation of any policies that would save Navient the

embarrassment, reputation damage, and significant organizational resources in defending,

                                                53
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 58 of 68



settling, or otherwise dealing with the mounting number of legal challenges brought against the

Company by private litigants and regulators. Accordingly, demand on Defendants Diefenderfer,

Adams, Unger, Cabral, Gilleland, Thompson, and Williams is futile.

       C.     Demand on Defendants Williams, Adams, Cabral, Lehman, Gilleland, Mills,
              and Thompson Is Futile Due to Their Positions on the Finance and
              Operations Committee

       147.   Defendants Williams, Adams, Cabral, Lehman, Gilleland, Mills, and Thompson

lack the requisite level of independence necessary to weigh the merits of this litigation, having

served as members of the Finance and Operations Committee. According to the Finance Charter,

Defendants Williams, Adams, Cabral, Lehman, Gilleland, Mills, and Thompson were vested

with the responsibility of providing oversight with respect to “material corporate finance

matters,” “business and technology operations[,]” “marketing and product development[,]” and

“oversight, mitigate and remediate operational risk.” Finance Charter at 1. To carry that

purpose, the Finance and Operations Committee had the responsibility to “[r]eview product

design and development, marketing strategies and sales activities for the Company’s products

and services.” Id. at 3 [emphasis added]. Additionally, the Finance and Operations Committee

members were responsible for the “[p]eriodic[] review [of] the Company’s compliance and

performance against the risk measures and limits contain in the Company’s Board approved

risk appetite framework relating to credit risk; market risk; funding & liquidity risk;

operational risk pertaining to key business processes, including loan servicing, collections,

information technology, and vendor management.” Id. [emphasis added].

       148.   However, instead of “overs[eeing], mitigat[ing] and remediat[ing] operational

risk” (id. at 1), members of the Finance and Operations Committee acquiesced to Navient’s

rampant violation of the state and federal law without taking any steps to remedy its practices.

Namely, as described herein, Navient embarked on a campaign to sway borrowers into

                                               54
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 59 of 68



forbearance in order to avoid the added costs associated with enrolling borrowers in income-

driven plans.

       149.     Thus, Defendants Williams, Adams, Cabral, Lehman, Gilleland, Mills, and

Thompson have entirely abdicated their responsibility to ensure than Navient’s disclosures made

to borrowers conformed with the applicable legal and regulatory requirements and the

Company’s own risk appetite framework.         As such, Defendants Williams, Adams, Cabral,

Lehman, Gilleland, Mills, and Thompson lack the requisite level of independence needed to

consider a demand.

X.     INSIDER TRADING ALLEGATIONS

       150.     From July 26, 2016 to April 24, 2017, the Insider Trading Defendants, Defendants

Diefenderfer, Bates, and Gilleland, collectively sold $1.2 million of Navient common stock

while in possession of material non-public information.

       151.     The Insider Trading Defendants knew that Navient steered borrowers into

forbearance instead of counseling them regarding more appropriate income-based plans; failed to

provide adequate notice regarding annual renewal/recertification process and cosigner release

requirements; misinformed borrowers regarding the benefits of loan rehabilitation program and

collection costs waiver; committed repeated payment processing errors and failed to implement

internal controls to prevent their re-occurrence; and misreported the status of military accounts.

Consequently, the Insider Trading Defendants were in possession of material non-public

information and were prohibited from trading Company stock until such information was

revealed to the public.

       152.     The following chart summarizes the dates upon which Defendant Diefenderfer

traded, as well as the proceeds from such trades:



                                                55
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 60 of 68




                                      Defendant Diefenderfer
                             Date        Shares        Price    Proceeds
                           11/17/16      18,590        $17.65   $328,132
                           8/19/16       16,300        $14.20   $231,427
                                           Total Proceeds:      $559,559

Defendant Diefenderfer’s sales were inconsistent with past trading patterns and suspicious in

their timing and amount.

       153.    The following chart summarizes the dates upon which Defendant Bates traded, as

well as the proceeds from such trades:

                                         Defendant Bates
                             Date        Shares        Price    Proceeds
                           7/26/16       9,000         $14.23   $128,027
                                           Total Proceeds:      $128,027

Defendant Bates’ sales were inconsistent with past trading patterns and suspicious in their timing

and amount.

       154.    The following chart summarizes the dates upon which Defendant Gilleland

traded, as well as the proceeds from such trades:

                                       Defendant Gilleland
                             Date        Shares        Price    Proceeds
                           4/24/17       5,467         $15.89   $86,889
                           11/14/16      10,000        $17.47   $174,711
                           11/09/16      17,240        $15.81   $272,609
                                           Total Proceeds:      $534,209

Defendant Gilleland’s sales were inconsistent with past trading patterns and suspicious in their

timing and amount.




                                                  56
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 61 of 68



XI.    CAUSES OF ACTION

                                            COUNT I
                                    Breach of Fiduciary Duty
                               (Against the Individual Defendants)

       155.    Plaintiff repeats, re-alleges, and incorporates by reference each and every

allegation set forth as though fully set forth herein.

       156.    The Individual Defendants owed, and owe, Navient the highest fiduciary

obligations of good faith, fair dealing, loyalty, and due care in managing the Company’s affairs.

       157.    The Individual Defendants, individually and collectively, violated and breached

their fiduciary by:

               a.     failing to ensure that Navient, and its directors and officers, complied with
                      federal laws; and

               b.     failing to conduct an adequate investigation of known potential (and/or
                      actual) violations of federal laws.

       158.    As a direct and proximate result of the Individual Defendants’ failure to perform

their fiduciary obligations, Navient has sustained significant damages – both financially and to

its corporate image and goodwill. Such damages include, among other things, the cost of

defending Navient in the Securities Litigation the CFPB action, and the State AGs actions,

including the costs associated with any settlements thereof. As a result of the misconduct alleged

herein, the Individual Defendants are liable to the Company.

       159.    Plaintiff, on behalf of Navient, has no adequate remedy at law.

                                            COUNT II
                         Violations of Section 10(b) of the Exchange Act
                              (Against the Individual Defendants)

       160.    Plaintiff repeats, re-alleges, and incorporates by reference each and every

allegation set forth as though fully set forth herein.




                                                  57
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 62 of 68



       161.    During the Relevant Period, the Individual Defendants disseminated or approved

public statements that failed to fully disclose the risk that Navient was systematically violating

federal and state law by: (i) failing to advise borrowers to enter into appropriate income-driven

repayment programs (“IDRs”), instead steering them to enter into costly forbearance, when not

appropriate, in order to save on costs and create additional future interest; (ii) failing to provide

adequate notice to borrowers for submission of the required annual paperwork to keep lower,

income-based payments and/or to allow cosigners to be released from loan obligations; (iii)

misinforming borrowers regarding the benefits of loan rehabilitation programs and certain

collection costs; (iv) committing repeated payment processing errors and failed to implement

internal controls to prevent their re-occurrence, leading to misapplied payments and the false

reporting loans as delinquent; and (v) misreporting the status of military accounts.

       162.    As such, the Individual Defendants caused the Company to violate §10(b) of the

Exchange Act and SEC Rule 10b-5 promulgated thereunder in that they:

               (a)     Employed devices, schemes, and artifices to defraud; and

               (b)     Made untrue statements of material fact or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading.

       163.    As a result of the Individual Defendants’ misconduct, the Company is suffering

litigation expense and reputational harm in the marketplace as a result of the violations of §10(b)

of the Exchange Act and SEC Rule 10b-5 promulgated thereunder.

        164. At all relevant times to the dissemination of the materially false and/or misleading

Proxy Statements, Director Defendants were aware of, and/or had access to, the true facts

concerning Navient’s operation.



                                                 58
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 63 of 68



        165.    Navient has been severely injured by this conduct and is entitled to damages and

equitable relief.

                                           COUNT III
                         Violation of Section 14(a) of the Exchange Act
                              (Against the Individual Defendants)

        166.    Plaintiff repeats, re-alleges, and incorporates by reference each and every

allegation set forth as though fully set forth herein.

        167.    SEC Rule 14a-9, promulgated pursuant to §14(a) of the Exchange Act, provides:

        No solicitation subject to this regulation shall be made by means of any proxy
        statement, form of proxy, notice of meeting or other communication, written or
        oral, containing any statement which, at the time and in the light of the
        circumstances under which it is made, is false or misleading with respect to any
        material fact, or which omits to state any material fact necessary in order to make
        the statements therein not false or misleading or necessary to correct any
        statement in any earlier communication with respect to the solicitation of a proxy
        for the same meeting or subject matter which has become false or misleading.

17 C.F.R. §240.14a-9(a).

         168. The Individual Defendants exercised control over Navient and caused the

Company to disseminate the false and misleading Proxy Statements. The Proxy Statements

materially misrepresented the effectiveness of the Board’s oversight of internal controls at

Navient, and the Board’s compliance with Navient’s corporate governance documents.

         169. As stated herein, the Proxy Statements contained untrue statements of material

facts and omitted to state material facts necessary to make the statements that were made not

misleading in violation of §14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder.

These false statements and omissions were essential links in the election of certain of the

Director Defendants to Navient’s Board and the continued illegal management of Navient.




                                                  59
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 64 of 68



         170. The written communications made by the Individual Defendants, as described

herein, constitute violations of Rule 14a-9 and §14(a) because such communications were

materially false and/or misleading and were provided in a negligent manner.

         171. At all relevant times to the dissemination of the materially false and/or misleading

Proxy Statements, Director Defendants were aware of, and/or had access to, the true facts

concerning Navient’s operation.

         172. Navient has been severely injured by this conduct and is entitled to damages and

equitable relief.

                                           COUNT IV
                         Violation of Section 29(b) of the Exchange Act
                              (Against the Individual Defendants)

        173.    Plaintiff repeats, re-alleges, and incorporates by reference each and every

allegation set forth as though fully set forth herein.

        174.    Individual Defendants each received incentive compensation and fees, including

stock awards, while engaging in conduct that violates §§10(b) and 14(a) of the Exchange Act.

The Individual Defendants’ incentive compensation and fees should be rescinded under §29 of

the Exchange Act because Individual Defendants violated §§10(b) and 14(a) of the Exchange

Act by issuing false and misleading reports to Navient’s stockholders regarding the nature of,

and responsibility for, the Company’s internal controls and operations. All of the payments

Individual Defendants received are, therefore, voidable by Navient.

        175.    Navient is in privity with the Individual Defendants with respect to the incentive

compensation and fees provided by Navient to Individual Defendants. Individual Defendants

have engaged in prohibited conduct in violation of the securities laws, as alleged herein.




                                                  60
         Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 65 of 68



       176.    Navient has been severely injured by the misconduct of the Individual

Defendants. Accordingly, Navient is entitled to damages, i.e., recession of the incentive and

compensation and fees granted to Individual Defendants.

                                              COUNT V
                             Breach of Fiduciary Duty for Insider Trading
                               (Against the Insider Trading Defendants)

       177.    Plaintiff repeats, re-alleges, and incorporates by reference each and every

allegation set forth as though fully set forth herein.

       178.    At the time of the stock sales set forth herein, the Insider Trading Defendants

knew the material non-public information described above and sold Navient common stock on

the basis of such information.

       179.    The information described above was proprietary non-public information

concerning the Company’s operation, financial condition, and future business prospects. It was a

proprietary asset belonging to the Company, which the Insider Trading Defendants used for their

own benefit when they sold their Navient common stock.

       180.    At the time of their stock sales, the Insider Trading Defendants knew Navient

engaged in loan servicing and collections practices violative of federal and state law. The Insider

Trading Defendants’ sales of Navient stock, while in possession and control of this material

adverse non-public information, was a breach of their fiduciary duties of loyalty and good faith,

and the concealment of this material non-public information allowed the Insider Trading

Defendants to knowingly sell their shares at artificially inflated prices.

       181.    As a direct and proximate result of the Insider Trading Defendants’ insider sales

and breach of fiduciary duties, Navient has suffered damages, not only monetarily, but also to its

corporate image and goodwill. Because the Insider Trading Defendants used the Company’s



                                                  61
             Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 66 of 68




proprietary information for their own gain, the Company is entitled to the imposition of a

constructive trust on any profits the Insider Trading Defendants obtained thereby.

XII.    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment in Navient's favor against the Individual

Defendants as follows:

        A.      Declaring that this action is a proper derivative action, Plaintiff is an adequate

representative on Navient's behalf, and demand is excused;

       B.       Declaring that the Individual Defendants have breached their fiduciary duties

owed to N avient and its stockholders;

       C.       Awarding Navient the damages it sustained due to the violations alleged herein

from each of the Individual Defendants, jointly and severally, together with interest thereon;

       D.       Awarding to Navient restitution from the Individual Defendants and ordering

disgorgement of all unlawfully obtained profits, benefits, and other compensation obtained by

the Individual Defendants;

       E.       Directing N avient to take all necessary actions to reform and improve its

corporate governance and internal procedures, comply with the Company's existing governance

obligations and all applicable laws, and protect the Company and its stockholders from a

recurrence of the damaging events described herein;

       F.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and

       G.      Granting such other and further relief as the Court deems just and proper.

DATED: January 4, 2019                       SCOTT+SCOTT ATTORNEYS AT LAW LLP




                                                62
Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 67 of 68



                            Donald A. Broggi
                            The Helmsley Building
                            230 Park Avenue, 17th Floor
                            New York, NY 10169
                            Telephone: (212) 223-6444
                            Facsimile: (212) 223-6334
                            jzimmerman@scott-scott.com
                            dbroggi@scott-scott.com

                            Geoffrey M. Johnson (admitted pro hac vice)
                            SCOTT+SCOTT ATTORNEYS AT LAW LLP
                            12434 Cedar Road, Suite 12
                            Cleveland Heights, OH 44118
                            Telephone: (216) 229-6088
                            Facsimile: (860) 537-4432
                            gjohnson@scott-scott.com

                            David R. Scott
                            SCOTT+SCOTT ATTORNEYS AT LAW LLP
                            156 South Main Street
                            P.O. Box 192
                            Colchester, CT 06415
                            Telephone: (860) 537-5537
                            Facsimile: (860) 537-4432
                            david.scott@scott-scott.com

                            Counsel for Plaintiff Buffalo Grove Police
                            Pension Fund




                              63
                            Case 2:19-cv-00062-CDJ Document 1 Filed 01/04/19 Page 68 of 68




                                      VERIFICATION OF TONY MONTIEL ON BEHALF OF
                                          BUFFALO GROVE POLICE PENSION FUND

                          I, Tony Montiel, Secretary of the Buffalo Grove Police Pension Fund ("Buffalo Grove"),

             make this Declaration on behalf of Buffalo Grove, and, being duly sworn, depose and say:

                          Buffalo Grove is a derivative plaintiff in this action. I verify that I have reviewed the

             Verified Stockholder Derivative Complaint (the "Complaint") to be filed in this action and that

             the facts stated in the Complaint, as they concern Buffalo Grove, are true to my personal

             knowledge.            I believe the facts pleaded in the Complaint on information and belief or

             investigation of counsel are true.

                          Buffalo Grove has not received, been promised or offered, and will not accept, any form

             of compensation, directly or indirectly, for prosecuting this action or serving as a representative

             party in this action except (i) such fees, costs, or other payments as the Court expressly approves

             to be paid to Buffalo Grove, or (ii) reimbursement, by its attorneys, of actual and reasonable out-

             of-pocket expenditures incurred directly in connection with the prosecution of this action.


             Dated: ~- 2:)- 1-15'                                              t2(Ayve&f?
                                                                         Tony Montiel
'·   ~   '                                                               Pension Board Secretary
                                                                         Buffalo Grove Police Pension Fund



             Sworn to and subscribed before me this

                j                 OFFICIAL SEAL
                                                                 d3   day of   7 ·              2018.

                4            MELESSA HORBUS
                          Notary PubJ,ic;; - State of Illinois           fY\ '~       \-\-tv. hl~-~
                                                                                 0 1\()fl..__
                                                                         NQTARYoePUBLJC
                                                                                                        J)
                        My Commission Expires 11/01/2019



             My commission expires:

              \\)D\1\'?\
                    I
                    I
